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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                              ENTERED
                                                                                              09/30/2020
IN RE:                                          §
PEARL RESOURCES LLC, et al                      §       CASE NO: 20-31585
                                                §
PEARL RESOURCES OPERATING CO.                   §       CASE NO: 20-31586
LLC                                             §
                                                §       Jointly Administered Cases
        Debtors                                 §
                                                §       CHAPTER 11


                                   MEMORANDUM OPINION

       Effective February 19, 2020, the Small Business Reorganization Act of 2019 (“SBRA”)

added new subchapter V provisions (11 U.S.C. §§ 1181–1195) designed to streamline the

reorganization process for small business debtors. While the definition of a small business debtor

under § 101(51D) has some conforming changes, the aggregate debt limit of $2,725,625 does not

change. However, the Coronavirus Aid, Relief, and Economic Security Act has temporarily raised

the aggregate debt limit to $7,500,000, effective March 25, 2020 and which sunsets on March 25,

2021. Thus, under the SBRA, a § 101(51D) “small business debtor” that files Chapter 11 has two

options: (1) proceed as a subchapter V case by electing subchapter V, or (2) proceed as a BAPCPA

“small business case” by not electing subchapter V. Pearl Resources LLC and Pearl Resources

Operating Co. LLC both elected to proceed under subchapter V of Title 11 of the United States

Bankruptcy Code.

       As a matter of first impression, the Court conducted a contested confirmation hearing on

the jointly administered subchapter V Debtors’ plan of reorganization on August 13, 2020. At

the conclusion, the Court ordered that a modified plan consistent with the Court’s oral ruling be

filed no later than August 20, 2020, took the matter under advisement and ordered briefing. All
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briefs have now been submitted and the matter is ripe for determination. For the reasons set

forth below, Debtors’ jointly administered subchapter V Plan dated August 21, 2020 is

confirmed pursuant to 11 U.S.C. § 1191(b).

                                      I.    FINDINGS OF FACT

        This Court makes the following findings of fact and conclusions of law pursuant to

Federal Rule of Civil Procedure 52, which is made applicable to contested matters pursuant to

Federal Rules of Bankruptcy Procedure 7052 and 9014. To the extent that any finding of fact

constitutes a conclusion of law, it is adopted as such. To the extent that any conclusion of law

constitutes a finding of fact, it is adopted as such. This Court made certain oral findings and

conclusions on the record. This Memorandum Opinion supplements those findings and

conclusions. If there is an inconsistency, this Memorandum Opinion controls.

    A. Procedural History

        On March 3, 2020, Pearl Resources LLC (“Pearl Resources”) and Pearl Resources

Operating Co. LLC (“Pearl Operating”) (each a “Debtor”; collectively “Debtors”) each filed

their separate Chapter 11 petitions under Title 11, Chapter 11, subchapter V of the United States

Bankruptcy Code.1 On March 10, 2020, the Court granted Debtors’ motion to jointly administer

the two cases.2 On April 13, 2020, a status conference concerning the jointly administered

Debtors was held at which time the Court entered an order which provisioned, inter alia, that a

plan of reorganization be filed no later than June 1, 2020.3 On April 14, 2020, the First Meeting

of Creditors was held, both Debtors appeared, by and through its managing member Dr. Dria,




1
  Any reference to “Code” or “Bankruptcy Code” is a reference to the United States Bankruptcy Code, 11 U.S.C., or
any section (i.e. §) thereof refers to the corresponding section in 11 U.S.C.
2
  ECF No. 27.
3
  ECF No. 85.
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and the meeting was concluded.4 By order of the Court, the bar date for non-governmental

interests and proofs of claim in these cases was May 1, 2020. 5 On May 22, 2020, Debtors filed

an emergency motion to extend the time to file a plan.6 On May 28, 2020, the Court held a

hearing on the emergency motion and after considering the pleadings on file and evidence taken

at the hearing, the motion was granted providing Debtors until July 1, 2020, to file a plan of

reorganization.7

        On July 1, 2020, Debtors timely filed their subchapter V plan of reorganization.8 On July

2, 2020, the Court (i) fixed the time for filing acceptances or rejections of the Plan; (ii) fixed the

time for filing objections to confirmation of the Plan; and (iii) scheduled a hearing to consider

confirmation of the Plan for August 13, 2020.9 On July 8, 2020, Debtors served on all creditors,

parties-in-interest, and others requesting notice, the Plan Solicitation Package that included: (i)

the Debtors’ plan;10 (ii) the Court’s Order fixing deadlines for voting and objections; and (iii) the

approved Ballot for Accepting or Rejecting Debtors’ Plan.11

        On August 6, 2020, the following creditors timely filed their objections to confirmation

of Debtors’ Plan: Pilot Thomas Logistics, LLC (“Pilot Thomas”);12 TransCon Capital, LLC

(“TransCon”);13 Nabors Drilling Technologies USA, Inc. (“Nabors”);14 and Terrell CAD, Harris

County, Pecos County (“Terrell CAD”).15           The Terrell CAD objection was subsequently

withdrawn, leaving only Pilot Thomas, TransCon, and Nabors (collectively “Objecting

4
  Min. Entry (04/14/2020).
5
  ECF No. 47.
6
  ECF No. 122.
7
  ECF No. 133.
8
  ECF No. 179.
9
  ECF No. 182.
10
   ECF No. 179.
11
   ECF No. 182.
12
   ECF No. 205.
13
   ECF No. 206.
14
   ECF No. 208.
15
   ECF No. 209.
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Creditors”). On August 10, 2020, Debtors filed Docket No. 210 evidencing the ballot tabulation

in which four Classes of claims held by non-insiders (three of which are impaired) voted to

accept the Plan and three impaired Classes of claims held by non-insiders voted not to accept the

Plan.16 Thereafter, on August 12, 2020, Debtors uploaded a proposed order confirming Debtors’

plan that included language purporting to modify language contained in the plan as it pertained

to treatment of the Objecting Creditors’ claims.17 However, pursuant to the Court’s order at the

August 13, 2020 hearing, Debtors filed a modified plan on August 21, 2020, which is currently

the live pleading before the Court (“Plan”).18

                                  II.    CONCLUSIONS OF LAW

     A. Jurisdiction, Venue, and the Court’s Constitutional Authority to Enter a Final
        Order

        This Court holds jurisdiction pursuant to 28 U.S.C. § 1334 and now exercises its

jurisdiction in accordance with Southern District of Texas General Order 2012–6.19

Confirmation of a plan of reorganization constitutes a core proceeding under 28 U.S.C.

§ 157(b)(2)(A) & (L). Therefore, the Court holds constitutional authority to enter a final order

and judgment.20 Finally, venue is governed by 28 U.S.C. §§ 1408, 1409. Venue is proper

because Debtors’ principal place of business has been in the Southern District of Texas for the

180 days immediately preceding the Petition Date. The Court will next turn its attention to the

statutorily required contents of a subchapter V plan of reorganization.

     B. Requisite Contents of a Subchapter V Plan of Reorganization

        Section 1125 of the Bankruptcy Code normally requires a disclosure statement that
16
   ECF No. 210.
17
   ECF No. 216.
18
   ECF No. 226; ECF No. 224 is a redlined version of the modified plan which was timely filed. ECF No. 226 is a
clean version of the same modified plan, which the Court will treat as the modified plan.
19
   In re: Order of Reference to Bankruptcy Judges, Gen. Order 2012–6 (S.D. Tex. May 24, 2012).
20
   See Wellness Intern. Network, Ltd. v. Sharif, 135 S. Ct. 1932, 1938–40 (2015); Stern v. Marshall, 564 U.S. 462
(2011).
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provides adequate information regarding the debtor’s plan of reorganization and implementation

of the plan of reorganization.21 However, subchapter V includes several features designed to

facilitate the efficient and economical administration of the case and the prompt confirmation of

a plan. These features include elimination of, inter alia, a separate disclosure statement unless the

court orders otherwise.22

         Although no disclosure statement is required, the subchapter V plan must, at a minimum,

contain the following: (a) a brief history of the subchapter V debtor’s business operations;23 (b) a

liquidation analysis;24 (c) projections with respect to the ability of the subchapter V debtor to

make payments under the proposed plan;25 (d) the submission of all or a portion of the

subchapter V debtor’s post-petition income from future earnings or (other future income) to the

supervision and control of the trustee “as is necessary for the execution of the plan”;26 and (e) in

a nonconsensual subchapter V plan, such as the case here, appropriate remedies that may include

liquidation of nonexempt assets to protect the holders of claims or interests in the event plan

payments are not made.27 Apart from the mandatory provisions, a subchapter V debtor’s plan

may contain any additional provisions that are consistent with the Bankruptcy Code but which

are not applicable in the instant case.28 The Court will take each one in turn.

         1. Debtors’ Plan of Reorganization

             a. History of Debtors’ Business Operations


21
   11 U.S.C. § 1125.
22
   11 U.S.C. § 1187(C).
23
   11 U.S.C. § 1190(1)(A).
24
   11 USC § 1190(1)(B).
25
   11 USC § 1190(1)(C).
26
   11 USC § 1190(2).
27
   11 USC § 1191(c)(3)(A).
28
   See e.g. 11 USC § 1190(3) (a new provision promulgated by the statute which provides for modification of the
rights of a holder of a claim secured only by a security interest in real property that is the principal residence of the
debtor if the new value received in connection with the granting of the security interest was not used primarily to
acquire the real property, but was used primarily in connection with the small business of the debtor).
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           Section 1190(1)(A) requires that a debtor include in its plan “a brief history of the

business operations of the debtor.” Here, Debtors included the following business history in

their Plan filed on August 21, 2020.29 Debtors are Texas limited liability companies with their

corporate offices in Houston, Texas.       Debtors have outsourced to third parties all of the

operational aspects of their business, except for their finance and administrative functions. Myra

A. Dria (“Dr. Dria”) manages Debtors’ finances, administrative functions, and directs operations

of their third-party contractors. The primary asset of Debtors are oil and gas leases located in

Pecos County, Texas. Dr. Dria is the founder and Managing Member of Pearl Resources and

through Pearl Resources, the Managing Member of Pearl Operating. Dr. Dria graduated from

the University of Texas with a Ph.D. in Petroleum Engineering with Honors in 1988.

           Debtors have under lease 2,240 acres in Pecos County, Texas. In addition, Debtors are

in a dispute concerning an additional 320 acres located in the south half of Section 22. Adjacent

operators are Jagged Peak Energy Inc. and Parsley Energy LLC, both publicly owned entities.

Debtors’ primary business has been to develop, design and build infrastructure to support drilling

operations, and drill and manage new oil and gas wells with production batteries on their lease

acreage in Pecos County. Debtors also operate two wells located in Pecos County: Brandenburg

Well No.1 and the Garnet State No. 3.




29
     ECF No. 226 at 2–18.
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                  i.    Description of Debtors’ Main Assets

           The Garnet State Lease legal description/location is H&GN RR Survey, Pecos County

Block 8 Section S/2 20 (320 acres) and Debtors hold this S/2 of Section 20 under a

Relinquishment Lease with the State of Texas for the development of the oil and gas interests.

Debtors also believe they are entitled to hold the S/2 of Section 22 (320 acres) also under that

same Relinquishment Lease but this acreage is under dispute with the Texas General Land

Office.

           There is one Phantom (Wolfcamp) field oil and gas well, the Garnet State #3, which was

drilled vertically to 11,000 ft. in 2017 and completed with a one stage hydraulic frack. Although

the well has an installed pumping unit (American 456-320-120, 3 25 KVA transformer and 50 hp

electric motor) with controller and new rods awaiting installation the well, according to Debtors,

is currently producing naturally, flowing, under natural gas pressure.

           A production battery for Garnet State Lease exists on Section 20 with two 300 bbl

production tanks, catwalks, and new vertical gun barrel tank. A meter run with a total flow

gauge was installed and upgraded. One separator exists at the well, and another separator exists

at the battery flare to optimize liquid recovery from the gas stream. 30 A 4-acre pad was built for

the first smaller battery, and an 8-acre pad was built for the battery expansion for the horizontal

well production and gas treatment facilities. The battery extension is where the flare is located

for safety purposes.

           For drilling and completion purposes, two water wells at either end of the S/2 of Section

20 lease were drilled and outfitted with downhole water well pumps and three (3) owned 45 KW

portable Magnum Diesel Generators. Both water wells produce freshwater at 200+ GPM. There

are three plastic-lined permanent frack pits and one unlined mega frack pit capable of holding an
30
     See Case 20-31585 ECF No. 54 on Schedule 46 for full equipment listing – “the Garnet State Lease Equipment”.
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additional 1.5 MM bbls of fresh water. Located at the north end of the S/2 of Section 20 two

storage connex buildings are located for equipment storage. Additional casing and equipment

are also stored at this location. Power poles and wire are installed extending the length of the

section.

       The South half of Section 22, a 320-acre tract under the State Lease (in dispute), holds an

owned water well equipped with downhole pump capable of delivering 200+ bbls of freshwater

per day. Another generator is placed at this location together with a 40,000 bbl freshwater lined

frack pit. A third horizontal well, 5000 ft. lateral, is permitted and was drilled to 2000 ft. with

surface case set and cemented to this depth. The well pad and lined reserve pit have been built,

together with rat hole, cellar, and 2000 ft. of cemented 13 3/8” J55 casing. Intentions are to

continue to drill the well to 10,000 ft. and add a 5,000 ft. lateral to this well. A 5-acre auxiliary

battery pad has been built which would offer initial gas, oil, and water separation before

transport across Section 21 easement to final processing on section 20 for delivery to pipelines.

A 72-acre development area has been fenced in with an 8-ft. game fence and two 30-ft.

cantilevered gates. A six well 10-acre drilling pad has also been built on the southeast corner of

the section. A 100-ft. wide half-mile pipeline, power, and road easement extends between

Section 20 across Section 21 to Section 22.

       The Brandenburg Lease legal description is H&GN RR Survey, Pecos County Block 8

Section 40:E/2 containing 320 acres more or less; H&GN Railway Company Survey, Block 8,

Section 41: W/2, Pecos County, Texas and containing 320 acres more or less; H&GN Railway

Company Survey, Block 8, Section 42: All, Pecos County, Texas and containing 640 acres more

or less; H&GN Railway Company Survey, Block 8, Section 44: All, Pecos County, Texas and

containing 640 acres more or less; comprising a total of 1,920 acres, more or less.
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       These are more or less adjacent sections with a majority of common mineral ownership

across several hundred mineral owners. The depths of the position were severed to some extent

when the Yates interval at 2600 ft. was first exploited in the 1930’s and the original family

ownership started selling portions of the other depths. The Yates was developed on large

spacing so remaining infill locations remain as “Proven,” but Debtors leased the interests of all

of the original family members and subsequently added other interests which delivered a

majority interest in all depths to Debtors. The ownership is extremely complicated, with many

owners and transfers back and forth between various individuals and selling other interests in a

royalty trust making this leasehold title work extremely challenging and an expensive endeavor

to decipher and obtain.

       Subsequent to the Yates development was the Cherry Canyon at 5,000 ft. and the

Ellenburger at 20,000 ft. depth. In 1979, AG Hill drilled the Brandenburg #1 well on Section 44

to the Ellenburger. The well was poorly tested and completed, with final testing and production

occurring from the Fusselman followed by an Atoka completion. Production facilities were

never installed, and gas produced from these deep horizons were sent directly to pipeline.

Debtors acquired new leases when the well had been abandoned and non-producing for over 6

years and the well was part of the leasehold.

             ii.   Statutory Mineral Property Liens

       In October 2016, a wild well incident occurred during the drilling of the Garnet State #4

well by PDS Drilling, LLC (“PDS”) pursuant to a Turnkey Drilling Contract with Debtor, Pearl

Operating (the “Turnkey Contract”). Under the Turnkey Contract, Debtor Pearl Operating

required PDS to provide its services on a fully turnkey basis which meant PDS was responsible

to furnish equipment, labor, and perform services as described in the contract for a total specified
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sum. After the wild well incident, PDS failed to pay amounts due to numerous subcontractors.

Many of these subcontractors asserted various claims against Debtors in an effort to hold them

responsible for PDS’s obligations. Additionally, many of these claimants filed statutory mineral

property liens against Debtors’ oil and gas properties and sued Debtors to foreclose those liens.

                iii.   Texas General Land Office (“GLO”) Issues and Status

           State Lease M-113155 (the “State Lease”) consists of dozens of undivided interest leases

obtained under the Relinquishment Act that covers all of Section 20, Blk. 8, H&GN Ry Co.

Survey, A-5206 and the S/2 of Section 22, Blk. 8, H&GN Ry Co. Survey, A-5208. Many of the

earliest undivided interest leases were dated in September and October of 2011 and had primary

terms of 5 years. Debtors acquired those leases in late 2012. Additional leases were taken in

2014 with 5-year primary terms, and then others were taken in 2016 with one-year primary

terms. The two sections covered by the State Lease are not contiguous, and neither section had

access to a public road. The nearest public road to Section 20 is FM 1776, about 1.5 miles to the

west. The nearest public roads to Section 22 are FM 1450, about 4 miles to the south, and FM

1776, about 2.5 miles to the west. In early 2013, Debtors contracted with Total Field Services to

construct a road across Section 44 into Section 22. However, due to some delay as more fully

described in Debtors’ Plan of reorganization, access to Section 20 has been delayed.

           The Court finds that Debtors’ Plan provides more than an adequate history of Debtors’

business operations and therefore satisfies § 1190(1)(A).31




31
     ECF No. 226 at 2–18.
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             b. Liquidation Analysis

        Section 1190(1)(B) requires that a debtor include a liquidation analysis in its plan of

reorganization.32 Here, Debtors’ plan of reorganization states that “[t]he total amount of unpaid

and unresolved non-insider claims asserted against Debtors is approximately $1,200,000.”33 Dr.

Dria’s uncontroverted testimony was that the Wolfcamp development on S/2 of Section 20 has a

NPV10 value of $22,420,000, the Garnet State Mineral Leasehold – Undeveloped, Proven,

Acreage is valued at $35,390,000, the Garnet State Lease Collateral34 is valued at $7,440,000;

the Brandenburg Mineral Leasehold – Undeveloped, Proven, Acreage is valued at $13,602,648

and the Brandenburg Leasehold, Undeveloped, Proven, Acreage is valued at $50,782,770.35

Even including Dr. Dria’s DIP Loan, the value of Debtors’ assets far exceed the total amount of

claims that would be required to be paid if Debtors were liquidated. 36 Exhibit C attached to

Debtors’ Plan provides a more detailed presentation of the value of Debtors’ assets. 37 The Plan

provides for full and complete satisfaction of all allowed claims with interest. The Court,

therefore, finds that Debtors’ liquidation analysis satisfies § 1190(1)(B).

             c. Financial Projections

        Section 1190(1)(C) requires that a debtor’s plan contain “projections with respect to the

ability of the debtor to make payments under the proposed plan of reorganization.” 38                        As

demonstrated by Debtors’ Exhibit D attached to their Plan, Debtors project that for the execution

of a nominally 5,000 foot lateral, with appropriate expenses, taxes, and a $4 million capital


32
   11 U.S.C. § 1190(1)(B).
33
   ECF No. 226-2.
34
   As stated by Debtors, “Garnet State Lease Collateral” includes 160 acres on the east side of the south half of
Section 20 (out of the 320 acres not in dispute with the Texas General Land Office) and the four (4) wells and
equipment located on such 160 east side acres.
35
   Min. Entry (8/13/2020); See ECF No. 226-3.
36
   ECF No. 226-2.
37
   ECF No. 226-3, Ex. C.
38
   11 U.S.C. § 1190(1)(C).
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investment for drilling and completion, this well can generate a reasonable return at July 2020

WTI/HH strip prices which range within the $39 – $49 per barrel of oil range through 2028 and

for this rich gas (1130 – 1280 mmbtu/mcf) a price which averages $2.50/mcf, yields a net cash

flow of approximately $150,000 per month. 39 Debtors believe that the financial projections can

be achieved if the 160 acres on the west half of the south half of Section 20 are freed from any

lien claims. Debtors further project that by September 2022, Debtors can generate as much as $5

million in oil and gas revenues. Alternatively, if Debtors are unable to successfully drill a well

within a reasonable time period after confirmation, Debtors will sell an approximate 20 percent

working interest in the Garnet State Lease Collateral to raise sufficient capital to pay all allowed

claims in full (“Allowed Claim(s)”).40

        Debtors’ performance under this Plan is not dependent upon the generation of disposable

income (“Disposable Income”) to pay Allowed Claims because Debtors are committing to sell

assets sufficient to pay Allowed Claims in full if they are not successful in paying Allowed

Claims in full from Disposable Income within two (2) years.41 Nevertheless, Debtors’ financial

projections demonstrate that there is a reasonable likelihood that Debtors will have projected

Disposable Income for the period described in § 1191(c)(2) sufficient to pay all Allowed Claims

in full, with interest. Accordingly, the Court finds that Debtors’ financial projections satisfy §

1190(1)(C).

            d. Submission of All or a Portion of the Subchapter V Debtors’ Post-Petition
               Income to the Supervision and Control of the Trustee

        Section 1190(2) requires the plan to provide for the submission of “all or such portion of

the future earnings or other future income of the debtor to the supervision and control of the


39
   ECF No. 226, Ex. D.
40
   Id.
41
   ECF No. 226.
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trustee as is necessary for the execution of the plan.”42 In an individual case, this provision replaces the

similar rule in § 1123(a)(8). In non-individual cases, as in the case sub judice, it imposes a new

requirement. Because a plan ordinarily must provide for payment of creditors from the debtor’s

income, the requirement for the submission to the trustee of income as necessary for the execution of

the plan constitutes a feasibility prerequisite. Moreover, § 1183(c)(1) provides for termination of the

trustee’s service upon substantial consummation of a consensual plan under § 1191(a). Under §

1101(2), “substantial consummation” occurs upon, inter alia, “commencement of distribution under the

plan.”

         Conversely, in a non-consensual plan such as the one before the Court, § 1194(b)

provides for the subchapter V trustee to make payments to creditors under the plan, after

confirmation, unless the plan or the order confirming it provides otherwise.43 Because the

subchapter V trustee must make payments under a non-consensual plan, the trustee’s service

does not terminate upon its substantial consummation but continues, at a minimum, until the

trustee has made the required disbursements. Although Debtors’ original Plan contemplated

Debtors making payments to creditors, the Court, given the objections raised by creditors

discussed more fully infra, found it appropriate to require Debtors to submit all or such portion

of the future earnings or other future income of Debtors to the supervision and control of the

subchapter V trustee as is necessary for the execution of the plan.44

         Section 5.06 of Debtors’ modified Plan provisions, inter alia, for Drew McManigle

(“SBRA Trustee”) to act as the Plan disbursing agent.45 It further provides for Debtors to remit

quarterly all Disposable Income generated by Debtors for the previous quarter to the SBRA


42
   11 U.S.C. § 1190(2).
43
   11 U.S.C. § 1194(b).
44
   11 U.S.C. § 1190(2).
45
   ECF No. 226 at 30.
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Trustee, along with an accounting of how Debtors calculated Disposable Income. 46 Section 5.06

then directs the SBRA Trustee to pay the Allowed Claims under Classes 2, 4, 5, 6, 7, and 8 from

Disposable Income until such time as Allowed Claims under 2, 4, 5, 6, 7, and 8 are paid in full.47

Accordingly, the Court finds that Debtors’ Plan meets the requirements of § 1190(2).

             e. Default and Remedies After Confirmation

        Because the provisions of a confirmed plan are binding on the debtor and creditors under

§ 1141(a), the plan’s provisions for default and remedies control. In a consensual plan, the

provisions governing default and remedies ordinarily have their source in negotiations with the

various creditors that lead to terms that result in acceptance of the plan. When one or more

classes of impaired creditors do not accept the plan, such as the case here, the requirements for

nonconsensual plan confirmation in § 1191(c) provide the source of remedies for default which

may include liquidation of nonexempt assets to protect the holders of claims or interests in the

event plan payments are not made.48 The only explicitly named remedy in § 1191(c)(3)(B) is

“the liquidation of nonexempt assets,” which must be evaluated in this case.49

        As discussed more fully infra, Debtors have objected to the claims of the following

classes of secured creditors: Class 4 –Nabors in the amount of $745,209.45; Class 5 – Pilot

Thomas in the amount of $95,749.17; Class 6 – Maverick Oil Tools, Inc. (“Maverick”) in the

amount of $133,635.28; Class 7 – TransCon in the amount of $90,223.87; and Class 8 – Charger

Services, LLC (“Charger”) in the amount of $86,470.02, for a combined $1,151,287.79 in

disputed claims.50

        In their Plan, Debtors proclaim that by leaving the west 160 acres of the south ½ of

46
   Id.
47
   Id.
48
   11 U.S.C. § 1191(c)(3)(B).
49
   Id.
50
   ECF Nos. 116–120.
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Section 20 unencumbered, it will increase significantly the opportunity to attract a drilling

partner, which in turn will help facilitate the payment of Allowed Claims in Classes 4, 5, 6, 7,

and 8.51 This requires that the Objecting Creditors’ liens on this west 160 acres be released,

which forms the basis of their objections.        The Objecting Creditors’ claims, however, are

disputed and subject to final resolution by this Court in the pending adversary complaints.52

        First, Nabors’s claim is the subject of an adversary proceeding case number 20-3125 in

which Debtors allege, inter alia, that Nabors overbilled and breached its contract with Debtors on

a drilling projected located on the Garnet State Lease and Debtors contest the validity of

Nabors’s mineral property lien filed of record in Pecos County Texas. Second, Pilot Thomas is

the subject of an adversary proceeding filed by Debtors in case number 20-3077. In that case,

Debtors allege that Pilot Thomas’s claim is not the obligation of Debtors, but rather of PDS,

whom Debtors hired to bring under control a wild well in 2016. As part of the wild well project,

Debtors allege, PDS contracted with and was obligated to pay Pilot Thomas as its subcontractor.

Third, TransCon’s claim is the subject of an objection filed by Debtors in which Debtors raise

similar complaints to that of the Pilot Thomas claim, in that the TransCon claim is not the

obligation of Debtors but the same third-party contractor, PDS, hired by Debtors to bring under
                                  53
control a wild well in 2016.           As part of the wild well project, Debtors allege, PDS also

contracted with and was obligated to pay TransCon as its subcontractor. For each of the disputed

claims, the Plan provides that:

     1. upon confirmation of the Plan, [Disputed Creditor’s] Pre-Petition Lien shall be released
        except as to the Garnet State Collateral and a release of lien instrument issued by the
        Court shall be recorded in the appropriate property records of Pecos County, Texas.



51
   ECF No. 226.
52
   See ECF Nos. 81, 105, 132.
53
   ECF No. 120.
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     2. to the extent of the amount of [Disputed Creditor’s] Allowed Claim, [Disputed Creditor]
        shall be entitled to retain its lien and security interest in the Garnet State Lease Collateral
        (“Disputed Creditor’s Retained Lien”).

     3. if the [Disputed] claim is not allowed. [Disputed Claimant’s] Retained Lien in the Garnet
        State Lease Collateral shall be released and within ten (10) days of the Court’s order,
        [Disputed Claimant] shall execute and deliver to the Reorganized Debtors an instrument
        releasing its Retained Lien in full and for all purposes in a form as required to record in
        the Pecos County Real Property Records.

     4. [Disputed Claimant’s] Allowed Claim shall accrue interest at the rate of four percent
        (4%) per annum from and after the Petition Date until it is paid in full. The [Disputed
        Claimant’s] Retained Lien shall have a first priority lien and security interest against the
        Garnet State Lease Collateral on a pari-pasu basis with the Allowed Claims under
        Classes 5, 6, 7 and/or 8. On a quarterly basis until paid in full, [Disputed Claimant’s]
        Allowed Claim shall be paid its pro-rata share (with Class 2 and the Allowed Claims
        under Classes 5, 6, 7, and/or 8) of Disposable Income from and after the Effective Date
        (“Effective Date”)54 subject to Section 5.03 of the Plan.

     5. the [Disputed] Allowed Claim shall be paid in full on the second-year anniversary of the
        Effective Date (the “[Disputed] Payment Deadline”). If the Debtors fail to pay the
        [Disputed] Allowed Claim on or before the [Disputed] Payment Deadline, the Debtors
        will be required to sell sufficient Garnet State Lease Collateral to pay the [Disputed]
        Allowed Claim in full. If the Debtors fail to pay the [Disputed] Allowed Claim in full on
        or before one year from the [Disputed] Payment Deadline, [Disputed Claimant] shall be
        free to pursue any and all remedies it may have under Texas state law, including
        foreclosure of its Retained Lien. Upon full payment of [Disputed Claimant’s] Allowed
        Claim, [Disputed Claimant] shall execute and deliver to the Reorganized Debtors an
        instrument releasing its Retained Lien in full and for all purposes in a form as required to
        record in the Pecos County Real Property Records.

        Additionally, Section 7.06 of Debtors’ Plan titled “Retained Collateral & Extra Protection”

provides that Classes 4, 5, 6, 7, and 8 retain their pre-petition liens in the Garnet State Lease

Collateral to the extent of the amounts of their Allowed Claims, if any.55 Debtors value the Garnet

State Lease Collateral at $7,440,000.56 The total amount of the claims filed by holders of claims in

Classes 4, 5, 6, 7, and 8 is approximately $1,151,287 in the aggregate which translates to

approximately a 6 to 1 collateral to debt ratio. As further protection of the Allowed Claims in

54
   The defined term “Effective Date” shall have the meaning set forth in Debtor’s Plan at ECF No. 226.
55
   ECF No. 226 at 33.
56
   Id.
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Classes 4, 5, 6, 7, and 8, Debtors agree that should any Allowed Claim remain unpaid as of the

34th month after the Effective Date, Debtors will at such time grant any unpaid Allowed Claims in

Classes 4, 5, 6, 7, and/or 8 a lien in Debtors’ interest at the time in the west 160 acres of the south

half of Section 20 to secure Debtors’ obligation to pay any such Allowed Claim in full on or before

the 36th month anniversary of the Effective Date.57

          Accordingly, the Court finds that the Plan meets the requirements of § 1191(c)(3)(B)

because it details remedies necessary to protect claim holders if Plan payments are not made,

including the liquidation of Debtors’ nonexempt assets.

          Now that the Court has determined that Debtors’ Plan meets the requisite requirements of

a subchapter V plan under § 1190, the Court must address whether Debtors’ Plan may be

confirmed in light of creditors’ objections to the Plan.58

      C. Whether Debtors’ Plan Should be Confirmed Considering Creditors’ Objections

          1. Classification and Treatment of Claims

          Debtors’ Plan provides for two classes of priority claims (classes 1 and 2); eight classes

of secured claims (classes 3–10); two classes of non-priority unsecured clams (classes 11 and

12); one class of pre-petition insider unsecured claims (class 13); and one class of equity security

holders (class 14) as follows:

          Class 1: All allowed claims entitled to priority under § 507(a) of the Code.

          Class 2: The post-petition debtor-in-possession loan made by Dr. Dria to Debtors.

          Class 3: The agreed Allowed Claim of Allied OFS LLC (“Allied”).

          Class 4: The claim of Nabors to the extent allowed.

          Class 5: The claim of Pilot Thomas to the extent allowed.

57
     Id.
58
     ECF Nos. 205–208.
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        Class 6: The claim of Maverick to the extent allowed.

        Class 7: The claim of TransCon to the extent allowed.

        Class 8: The claim of Charger to the extent allowed.

        Class 9: The pre-petition statutory mineral property lien filed under Texas Property Code
        Section 56 by Von Directional Services, LLC (“Von Directional”) and any related claim
        against either of Debtors.

        Class 10: The pre-petition statutory mineral property lien filed under Texas Property
        Code Section 56 by RH Trucking, LLC (and Ricardo & Adelaida Huitron) and any
        related claim against either of Debtors.

        Class 11: All non-priority unsecured claims under § 502 of the Code.

        Class 12: Potential creditors listed in Debtors’ schedules as disputed, but who did not file
        a proof of claim on or before the bar date of May 1, 2020.

        Class 13: Pre-petition loans made by Dr. Dria to Debtors.

        Class 14: The Equity Interests of Dr. Dria in Pearl Resources, and Pearl Resources in
        Pearl Operating.

        2. Votes, Objections, and Resolutions

        The Plan separates claims and equity interests into 14 classes, 11 of which are impaired.59

Classes 2, 13, and 14 are claims and interests held by insiders and those Classes voted to accept the

Plan.60 There are no claims asserted under Classes 1, 11, and 12 and no votes were cast by

members of those classes.61 Class 10 did not submit a ballot.62 Classes 3, 6, 8, and 9 voted to

accept the Plan.63 Classes 4, 5, and 7 voted against the Plan.64

        Debtors lodged objections to the claims of members of Classes 4, 5, and 7 and such



59
   ECF No. 226
60
   ECF No. 210.
61
   Id.
62
   Id.
63
   Id.
64
   Id.
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objections remain pending.65 Class 4, 5, and 7 filed objections to the Plan arguing, inter alia, that

the Plan does not provide the holders of claims in Classes 4, 5, and 7 the realization of the

indubitable equivalent of their respective claims. The objection to the Plan filed by Harris County,

Pecos County, and Terrell’s CAD has been withdrawn in exchange for Debtors’ agreement to treat

the claims of such taxing authorities as provided in the Plan.

        3. Confirmation of Debtors’ Jointly Administered Subchapter V Plan of
           Reorganization

        In a non-subchapter V case, the court must confirm a Chapter 11 plan if all the

requirements of § 1129(a) are met.66 Additionally, when all of the requirements of § 1129(a) are

met, except the requirement in paragraph (a)(8) requiring that all impaired classes accept the

plan, § 1129(b)(1) permits “cramdown” confirmation “if the plan does not discriminate unfairly,

and is fair and equitable” with regard to each impaired class that has not accepted it. 67 Finally,

§ 1129(b)(2) states the rules for the “fair and equitable” requirement for classes of secured

claims, unsecured claims, and interests.68 The effects of confirmation are the same even if

cramdown confirmation occurs under § 1129(b).

        Pursuant to § 101(51D), however, Debtors are small business debtors and subchapter V

of Chapter 11 applies to Debtors in these jointly administered bankruptcy cases.69 The Court

already found that the Plan adequately provides the information required by § 1190(1). Section

1191 states the rules for confirmation in a subchapter V case. 70 The starting point is that

§ 1129(b) does not apply.71 Section 1129(a), however, remains applicable in a subchapter V case


65
   See ECF No. 115–120.
66
   11 U.S.C. § 1129(a).
67
   11 U.S.C. § 1129(b)(1).
68
   11 U.S.C. § 1129(b)(2).
69
   See also ECF No. 32.
70
   11 U.S.C. § 1191.
71
   11 U.S.C § 1181(a).
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except for paragraph (a)(15), which imposes a projected disposable income requirement in the

case of an individual, if an unsecured creditor invokes it.72 If all the applicable requirements in §

1129(a) are met, except for the projected disposable income rule of paragraph (a)(15), § 1191(a)

requires the court to confirm the plan.73 Because § 1129(a)(8) requires acceptance of the plan by

all impaired classes, confirmation under § 1191(a) can occur only if all impaired classes have

accepted it.74 This, of course, is more colloquially referred to as a consensual plan.

        Where the subchapter V debtor cannot obtain full consent for the plan (i.e. one or more

impaired classes of claims or interests rejects the plan), § 1191(b) sets forth the rules for cramdown

and replaces the requirements of § 1129(b), which do not apply in a subchapter V case.75 Instead,

under § 1191(b), the court shall confirm a subchapter V plan that satisfies the confirmation

requirements, other than the requirements of § 1129(a)(8) (providing that all classes vote to accept

the plan or not be impaired by the plan), § 1129(a)(10) (requiring at least one impaired class to

accept the plan), and § 1129(a)(15) (requiring payment of unsecured creditors in full or devoting

allocated projected disposable income to the plan), so long as the plan does not discriminate

unfairly against any impaired, non-consenting class and is fair and equitable regarding each class

of impaired claims or interests that has rejected the plan.76       As such, the Court must first

determine whether, other than paragraphs 8, 10, and 15 of § 1129(a), the requirements of

§ 1129(a) have been met. The Court will review each one in turn.

             a. Requirements of § 1129(a)

                i.    Section 1129(a)(1)



72
   Id.
73
   11 U.S.C. § 1191(a).
74
   Id.
75
   11 U.S.C. § 1181(a).
76
   11 USC § 1191(b).
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        The first requirement of § 1129(a) is that the plan must comply with “the applicable

provisions of this title.”77 The legislative history reflects that “the applicable provisions of chapter

11 include such sections as 1122 and 1123, governing classification and contents of a plan.”78

Debtors’ Plan sets forth the following claims and interests:

        Class 1 – All allowed claims entitled to priority under § 507(a) of the Code. Priority
        claims are unimpaired. No claims entitled to priority under § 507(a) of the Code have
        been filed or asserted.

        Class 2 – The post-petition debtor-in-possession loan made by Dria to the Debtors. Myra
        Dria has made a debtor-in-possession loan (the “DIP Loan”) to the Debtors pursuant to
        the Court’s order (the “DIP Loan Order”) dated March 31, 2020.79 Dr. Dria committed
        up to $500,000 under the DIP Loan. Pursuant to the DIP Loan Order, Dr. Dria was
        granted super priority administrative expense status under § 364(c)(1) of the Code and
        the DIP Loan is entitled to the protections of § 364(e) of the Code. As of the date of this
        Memorandum Opinion, the amount due and owing under the DIP Loan is approximately
        $252,000. On a quarterly basis until such time as Allowed Claims under Classes 4, 5, 6,
        7, and/or 8 are paid in full, Class 2 shall be paid its pro-rata share (with the Allowed
        Claims under Classes 4, 5, 6, 7 and/or 8) of Disposable Income from and after the
        Effective Date.

        Class 3 – The agreed Allowed Claim of Allied OFS LLC (“Allied”). The Debtors and
        Allied have reached a settlement with respect to Allied’s claim against both Debtors in
        the amount of $3,346,349.53. Allied voted in favor of the Plan. Allied’s Allowed Claim
        is $150,000 and shall be paid as follows: (i) $100,000 on the Effective Date; and (ii)
        $50,000 on or before nine (9) months from the date of this Order. Allied shall release the
        statutory mineral property lien it filed pre-petition against the Debtors’ properties in
        Pecos County, Texas, within ten (10) days of its receipt of $100,000. Debtors shall supply
        Allied with the appropriate form of release.

        The Plan provides for a joint and mutual release between the Debtors and Allied in which
        Allied shall be released by the Debtors and their bankruptcy estates, and the Debtors and
        their bankruptcy estates shall be released by Allied, from any and all claims, obligations,
        debts, rights, suits, damages, causes of action, remedies and liabilities whatsoever,
        whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
        law, equity, or otherwise, that the Debtors or their bankruptcy estates, on the one hand,
        and Allied, on the other hand, have asserted or could have asserted, based on or relating
        to, or in any manner arising from, in whole or in part, the claims asserted in any litigation
        prior to the confirmation of this Plan, the Debtor’s business dealings with Allied, and/or

77
   11 U.S.C. § 1129(a)(1).
78
    H.R. Rep. No. 595, 95th Cong., 1st Sess. 412 (1977); S. Rep. No. 989, 95th Cong., 2d Sess. 126 (1978), U.S.
Code Cong. & Admin. News 1978, pp. 5963, 6368, 5787, 5912.
79
   ECF No. 72.
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the pre-petition mineral lien recorded by Allied, and any matters related to the foregoing;
provided however, such release does not include any of the Debtors’ obligations to Allied
under this Plan.

Entry of this Court’s Confirmation Order shall constitute the Court’s approval, pursuant
to Bankruptcy Rule 9019, of the release of Allied’s claims against the Debtors and the
bankruptcy estates and the reciprocal release of the Debtors and the bankruptcy estates
against Allied, and further, shall constitute the Court’s finding that the joint and mutual
releases of the Debtors and the bankruptcy estates, on one hand, and Allied, on the other
hand, is (a) in exchange for good and valuable consideration, (b) a good faith settlement
and compromise, (c) in the best interests of the Debtors and their estates, (d) fair,
equitable, and reasonable, (e) given and made after due notice and opportunity for
hearing, and (f) a bar to the Debtors and the bankruptcy estates asserting any claims or
causes of action released herein and a bar to Allied asserting any claims or causes of
action released herein.

Class 4 – The claim of Nabors to the extent allowed. The claim filed by Nabors is
disputed. Nabors voted to reject the Plan. Prior to the bankruptcy filing, Nabors filed a
statutory mineral property lien under Texas law that attached to certain of the Debtors’
assets (“Nabors’ Pre-Petition Lien”). The Plan provides for Nabors’ Pre-Petition Lien to
be released except as to the Garnet State Lease Collateral and a release of lien instrument
issued by the Court shall be recorded in the appropriate property records of Pecos
County. The form of such release will be provided by the Debtors. The Plan further
provides that to the extent of the amount of Nabors’ Allowed Claim, Nabors shall be
entitled to retain its lien and security interest in the Garnet State Lease Collateral
(“Nabors’ Retained Lien”). If the Nabors’ claim is not allowed, Nabors’ Retained Lien in
the Garnet State Lease Collateral shall be released, and within ten (10) days of the
Court’s order, Nabors shall execute and deliver to the Reorganized Debtors an instrument
releasing its Retained Lien in full and for all purposes in a form as required to record in
the Pecos County Real Property Records.

Nabors’ Allowed Claim shall accrue interest at the rate of four percent (4%) per annum
from and after the Petition Date until it is paid in full. The Nabors’ Retained Lien shall
have a first priority lien and security interest against the Garnet State Lease Collateral on
a pari-pasu basis with the Allowed Claims under Classes 5, 6, 7 and/or 8. On a quarterly
basis until paid in full, Nabors’ Allowed Claim shall be paid its pro-rata share (with Class
2 and the Allowed Claims under Classes 5, 6, 7, and/or 8) of Disposable Income from
and after the Effective Date subject to Section 5.03 of the Plan. Nabors’ Allowed Claim
shall be paid in full on the second-year anniversary of the Effective Date (the “Nabors
Payment Deadline”). If the Debtors fail to pay Nabors’ Allowed Claim on or before the
Nabors Payment Deadline, the Debtors are required to sell sufficient Garnet State Lease
Collateral to pay Nabors’ Allowed Claim in full. If the Debtors fail to pay the Nabors’
Allowed Claim in full on or before one year from the Nabors Payment Deadline, Nabors
shall be free to pursue any and all remedies it may have under Texas state law, including
foreclosure of its Retained Lien. Upon full payment of Nabors’ Allowed Claim, Nabors
shall execute and deliver to the Reorganized Debtors an instrument releasing its Retained
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Lien in full and for all purposes in a form as required to record in the Pecos County Real
Property Records.

Class 5 – The claim of Pilot Thomas to the extent allowed. The claim filed by Pilot
Thomas is disputed. Pilot Thomas voted to reject the Plan. Prior to the bankruptcy filing,
Pilot Thomas filed a statutory mineral property lien under Texas law that attached to
certain of the Debtors’ assets (“Pilot’s Pre-Petition Lien”). The Plan provides for Pilot
Thomas’s Pre-Petition Lien to be released except as to the Garnet State Lease Collateral
and a release of lien instrument issued by the Court shall be recorded in the appropriate
property records of Pecos County, Texas. The form of such release shall be provided by
the Debtors. To the extent of the amount of Pilot Thomas’s Allowed Claim, Pilot Thomas
shall be entitled to retain its lien and security interest in the Garnet State Lease Collateral
(“Pilot’s Retained Lien”). If Pilot Thomas’s claim is not allowed, Pilot Thomas’s
Retained Lien in the Garnet State Lease Collateral shall be released, and within ten (10)
days of the Court’s order, Pilot Thomas shall execute and deliver to the Reorganized
Debtors an instrument releasing its Retained Lien in full and for all purposes in a form as
required to record in the Pecos County Real Property Records.

Pilot Thomas’s Allowed Claim shall accrue interest at the rate of four percent (4%) per
annum from and after the Petition Date until it is paid in full. Pilot Thomas’s Retained
Lien shall have a first priority lien and security interest against the Garnet State Lease
Collateral on a pari-pasu basis with the Allowed Claims under Classes 4, 6, 7, and/or 8.
On a quarterly basis until paid in full, Pilot Thomas’s Allowed Claim shall be paid its
pro-rata share (with Class 2 and the Allowed Claims under Classes 4, 6, 7, and/or 8) of
Disposable Income from and after the Effective Date subject to Section 5.03 of the Plan.
Pilot’s Allowed Claim shall be paid in full on the second-year anniversary of the
Effective Date (the “Pilot Payment Deadline”). If the Debtors fail to pay Pilot Thomas’s
Allowed Claim on or before the Pilot Payment Deadline, the Debtors are required to sell
sufficient Garnet State Lease Collateral to pay Pilot Thomas’s Allowed Claim in full. If
the Debtors fail to pay Pilot Thomas’s Allowed Claim in full on or before one year from
the Pilot Payment Deadline, Pilot Thomas shall be free to pursue any and all remedies it
may have under Texas state law, including foreclosure of its Retained Lien. Upon full
payment of Pilot’s Allowed Claim, Pilot Thomas shall execute and deliver to the
Reorganized Debtors an instrument releasing its Retained Lien in full and for all purposes
in a form as required to record in the Pecos County Real Property Records.

Class 6 – The claim of Maverick to the extent allowed. The claim filed by Maverick is
disputed. Maverick voted to accept the Plan. Prior to the bankruptcy filing, Maverick
filed a statutory mineral property lien under Texas law that attached to certain of the
Debtors’ assets (“Maverick’s Pre-Petition Lien”). The Plan provides for Maverick’s Pre-
Petition Lien to be released except as to the Garnet State Lease Collateral and a release of
lien instrument issued by the Court shall be recorded in the appropriate property records
of Pecos County, Texas. The form of such release shall be provided by the Debtors. To
the extent of the amount of Maverick’s Allowed Claim, Maverick shall be entitled to
retain its lien and security interest in the Garnet State Lease Collateral (“Maverick’s
Retained Lien”). If Maverick’s claim is not allowed, Maverick’s Retained Lien in the
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Garnet State Lease Collateral shall be released, and within ten (10) days of the Court’s
order, Maverick shall execute and deliver to the Reorganized Debtors an instrument
releasing its Retained Lien in full and for all purposes in a form as required to record in
the Pecos County Real Property Records. Maverick’s Allowed Claim shall accrue
interest at the rate of four percent (4%) per annum from and after the Petition Date until it
is paid in full. Maverick’s Retained Lien shall have a first priority lien and security
interest against the Garnet State Lease Collateral on a pari-pasu basis with the Allowed
Claims under Classes 4, 5, 7, and/or 8. On a quarterly basis until paid in full, Maverick’s
Allowed Claim shall be paid its pro-rata share (with Class 2 and the Allowed Claims
under Class 4, 5, 7, and/or 8) of Disposable Income from and after the Effective Date
subject to Section 5.03 of the Plan. Maverick’s Allowed Claim shall be paid in full on the
second-year anniversary of the Effective Date (the “Maverick Payment Deadline”). If the
Debtors fail to pay Maverick’s Allowed Claim on or before the Maverick Payment
Deadline, the Debtors are required to sell sufficient Garnet State Lease Collateral to pay
Maverick’s Allowed Claim in full. If the Debtors fail to pay Maverick’s Allowed Claim
in full on or before one year from the Maverick Payment Deadline, Maverick shall be
free to pursue any and all remedies it may have under Texas state law, including
foreclosure of its Retained Lien. Upon full payment of Maverick’s Allowed Claim,
Maverick shall execute and deliver to the Reorganized Debtors an instrument releasing its
Retained Lien in full and for all purposes in a form as required to record in the Pecos
County Real Property Records.

Class 7 – The claim of TransCon the extent allowed. The claim filed by TransCon is
disputed. TransCon voted to reject the Plan. Prior to the bankruptcy filing, TransCon filed
a statutory mineral property lien under Texas law and a statutory judgment lien that
attached to certain of the Debtors’ assets (“TransCon’s Pre-Petition Lien”). The Plan
provides for TransCon’s Pre-Petition Lien to be released except as to the Garnet State
Lease Collateral and a release of lien instrument issued by the Court shall be recorded in
the appropriate property records of Pecos and Harris Counties, Texas. The form of such
releases shall be provided by the Debtors. To the extent of the amount of TransCon’s
Allowed Claim, TransCon shall be entitled to retain its lien in the Garnet State Lease
Collateral (“TransCon’s Retained Lien”). If TransCon’s claim is not allowed, TransCon’s
Retained Lien in the Garnet State Lease Collateral shall be released, and within ten (10)
days of the Court’s order, TransCon shall execute and deliver to the Reorganized Debtors
an instrument releasing its Retained Lien in full and for all purposes in a form as required
to record in the Pecos County Real Property Records.

TransCon’s Allowed Claim shall accrue interest at the rate of four percent (4%) per
annum from and after the Petition Date until it is paid in full. TransCon’s Retained Lien
shall have a first priority lien and security interest against the Garnet State Lease
Collateral on a pari-pasu basis with the Allowed Claims under Classes 4, 5, 6, and/or 8.
On a quarterly basis until paid in full, TransCon’s Allowed Claim shall be paid its pro-
rata share (with Class 2 and Allowed Claims under Classes 4, 5, 6, and/or 8) of
Disposable Income from and after the Effective Date subject to Section 5.03 of the Plan.
TransCon’s Allowed Claim shall be paid in full on the second-year anniversary of the
Effective Date (the “TransCon Payment Deadline”). If the Debtors fail to pay
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TransCon’s Allowed Claim on or before the TransCon’s Payment Deadline, the Debtors
are required to sell sufficient Garnet State Lease Collateral to pay TransCon’s Allowed
Claim in full. If the Debtors fail to pay TransCon’s Allowed Claim in full on or before
one year from the TransCon Payment Deadline, TransCon shall be free to pursue any and
all remedies it may have under Texas state law, including foreclosure of its Retained
Lien. Upon full payment of TransCon’s Allowed Claim, TransCon shall execute and
deliver to the Reorganized Debtors an instrument releasing its Retained Lien in full and
for all purposes in a form as required to record in the Pecos County Real Property
Records.

Class 8 – The claim of Charger to the extent allowed. The claim filed by Charger is
disputed. Prior to the bankruptcy filing, Charger filed a statutory judgment lien under
Texas law that attached to certain of the Debtors’ assets (“Charger’s Pre-Petition Lien”).
The Plan provides for Charger’s Pre-Petition Lien to be released except as to the Garnet
State Lease Collateral and a release of lien instrument issued by the Court shall be
recorded in the appropriate property records of Pecos County, Texas. The form of such
release shall be provided by Debtors. To the extent of the amount of Charger’s Allowed
Claim, Charger shall be entitled to retain its lien and security interest in the Garnet State
Lease Collateral (“Charger’s Retained Lien”). If Charger’s claim is not allowed,
Charger’s Retained Lien in the Garnet State Lease Collateral shall be released, and within
ten (10) days of the Court’s order, Charger shall execute and deliver to the Reorganized
Debtors an instrument releasing its Retained Lien in full and for all purposes in a form as
required to record in the Pecos County Real Property Records.

Charger’s Allowed Claim shall accrue interest at the rate of four percent (4%) per annum
from and after the Petition Date until it is paid in full. Charger’s Retained Lien shall have
a first priority lien and security interest against the Garnet State Lease Collateral on a
pari-pasu basis with the Allowed Claims under Classes 4, 5, 6, and/or 7. On a quarterly
basis until paid in full, Charger’s Allowed Claim shall be paid its pro-rata share (with
Class 2 and the Allowed Claims under Classes 4, 5, 6, and/or 7) of Disposable Income
from and after the Effective Date subject to Section 5.03 of the Plan. Charger’s Allowed
Claim shall be paid in full on the second-year anniversary of the Effective Date (the
“Charger Payment Deadline”). If the Debtors fail to pay Charger’s Allowed Claim on or
before the Charger Payment Deadline, the Debtors are required to sell sufficient Garnet
State Lease Collateral to pay Charger’s Allowed Claim in full. If the Debtors fail to pay
Charger’s Allowed Claim in full on or before one year from the Charger Payment
Deadline, Charger shall be free to pursue any and all remedies it may have under Texas
state law, including foreclosure of its Retained Lien. Upon full payment of Charger’s
Allowed Claim, Charger shall execute and deliver to the Reorganized Debtors an
instrument releasing its Retained Lien in full and for all purposes in a form as required to
record in the Pecos County Real Property Records.

Class 9 – The pre-petition statutory mineral property lien filed under Texas Property
Code Section 56 by Von Directional and any related claim against either of the Debtors.
The Plan provides for the statutory mineral property lien claim of Von Directional
recorded pre-petition to be released and a release of lien instrument issued by the Court
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shall be recorded in the appropriate property records of Pecos County, Texas. The form
of such release shall be provided by the Debtors. Additionally, the Plan provides for Von
Directional to not receive any recovery under the Plan and any pre-petition claim Von
Directional has against the Debtors to be released and the Debtors are to release any
claim they may have against Von Directional. Von Directional voted to accept the Plan.
The Plan provides for a joint and mutual release between the Debtors and Von
Directional in which Von Directional shall be released by the Debtors and their
bankruptcy estates, and the Debtors and their bankruptcy estates shall be released by Von
Directional, from any and all claims, obligations, debts, rights, suits, damages, causes of
action, remedies and liabilities whatsoever, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the Debtors
or their bankruptcy estates, on the one hand, and Von Directional, on the other hand, have
asserted or could have asserted, based on or relating to, or in any manner arising from, in
whole or in part, the claims asserted in any litigation prior to the confirmation of this
Plan, the Debtor’s business dealings with Von Directional, and/or the pre-petition mineral
liens asserted by Von Directional, and any matters related to the foregoing.

Entry of the Court’s Confirmation Order shall constitute the Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release of Von Directional’s claims against the Debtors and
the bankruptcy estates and the reciprocal release of the Debtors and the bankruptcy
estates of their claims against Von Directional, and further, shall constitute the Court’s
finding that the joint and mutual releases of the Debtors and the Bankruptcy estates, on
one hand, and Von Directional, on the other hand, are (a) in exchange for good and
valuable consideration, (b) a good faith settlement and compromise, (c) in the best
interests of the Debtors and their estates, (d) fair, equitable, and reasonable, (e) given and
made after due notice and opportunity for hearing, and (f) a bar to the Debtors and the
bankruptcy estates asserting any claims or causes of action released herein and a bar to
Von Directional asserting any claims or causes of action released herein.

Class 10 – The pre-petition statutory mineral property lien filed under Texas Property
Code Section 56 by RH Trucking, LLC (and Ricardo & Adelaida Huitron) and any
related claim against either of the Debtors. The Plan provides for the statutory mineral
property lien claim of RH Trucking, LLC (and Ricardo & Adelaida Huitron) to be
released and a release of lien instrument issued by the Court shall be recorded in the
appropriate property records of Pecos County, Texas. The form of release shall be
provided by the Debtors. RH Trucking, LLC (and Ricardo & Adelaida Huitron) shall not
receive any recovery under this Plan. Class 10 is disputed. Class 10 is impaired. Class 10
did not submit a vote on the Plan.

Class 11 – All non-priority unsecured claims under § 502 of the Code. There are no class
11 claims.

Class 12 – Potential creditors listed in Debtors’ schedules as disputed but who did not file
a proof of claim on or before the bar date of May 1, 2020. There are no class 12 claims.
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Class 13 – Pre-petition loans made by Dr. Dria to Debtors. Prior to the Debtors’
bankruptcy filings, the Debtors’ principal, Dr. Myra Dria, had loaned to the Debtors
approximately $19,000,000. Dr. Dria has agreed to subordinate these loans to any
Allowed Claims and she will not receive any payments on account of these pre-petition
loans unless and until all Allowed Claims are paid in full.

Class 14 – The Equity Interests of Dr. Dria in Pearl Resources, and Pearl Resources in
Pearl Operating. The equity holder in Pearl Resources, Dr. Dria, shall retain her 100%
ownership interest in Pearl Resources. The equity holder in Pearl Operating, Pearl
Resources, shall retain its 100% ownership interest in Pearl Operating.

Taxing Authorities.        Harris County and Pecos County (herein “Texas Taxing
Authorities”) assert that they are Holders of pre-petition Claims for unpaid ad valorem
real and business personal property taxes (the “Ad Valorem Tax Claims”). The Plan
provides that the Debtors or Reorganized Debtors, as applicable, pay all Ad Valorem Tax
Claims on the later of: (a) twenty Business Days after (i) the Effective Date or (ii) the
date on which such Ad Valorem Tax Claims become Allowed Claims, with regard to
delinquent taxes, if any, and (b) the date when such Ad Valorem Tax Claims become due
and payable in the ordinary course of business; provided, however, that any Ad Valorem
Tax Claims for the 2020 taxable year are not required to be paid prior to January 31,
2021. Year 2019 and prior ad valorem taxes, if any, shall accrue statutory interest from
the petition date until paid in full and in the event any Ad Valorem Tax Claims of the
Texas Taxing Authorities for year 2020 are paid after the date they become due and
payable in the ordinary course of business, the applicable Texas Taxing Authority shall
receive interest on such Ad Valorem Tax Claim (a) from the Petition Date through the
Effective Date and (b) from the Effective Date until the date of payment in full at the
state statutory rate pursuant to Code Sections 506(b), 511, and 1129, as applicable. Each
Texas Taxing Authority shall retain the liens that secure the Ad Valorem Tax Claims, and
the relative priority of such liens shall continue until the Ad Valorem Tax Claims are paid
in full and said tax liens shall not be primed or subordinated by any Exit Financing. In the
event that the Debtors or Reorganized Debtors sell any property which secures the ad
valorem tax liens, said taxes shall be paid in full prior to disbursement to any other
person or entity.

In the event that the Debtor or Reorganized Debtor abandons any property upon which
the Texas Taxing Authorities have liens securing any Ad Valorem Tax Claims, the
Debtors or Reorganized Debtors, as applicable, shall provide notice of such abandonment
and of the occurrence of the effective date to the affected Texas Taxing Authority. The
Ad Valorem Tax liens for the 2020 and prior taxable years (if any) shall not be
discharged until such time as the amounts owed are paid in full. In the event of a default
in the payment of the Ad Valorem Tax Claims as provided herein, the Texas Taxing
Authorities shall provide notice to counsel for the Reorganized Debtors regarding such
default, and the Reorganized Debtors shall have twenty (20) days from the date of receipt
such notice to cure the default. If the default is not cured within such period, the Texas
Taxing Authorities shall be entitled to pursue collection of all amounts owed pursuant to
applicable non-bankruptcy law. Failure to pay the 2020 Ad Valorem Tax Claims prior to
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        the state law delinquency date shall constitute an event of default only as to the relevant
        Texas Taxing Authority. The Debtors’ and/or Reorganized Debtors’ rights and defenses
        under Texas state law and the Code with respect to this paragraph, including their right to
        dispute or object to the Ad Valorem Tax Claims and liens, are fully preserved.

        Upon review, the Plan properly classifies claims and interests in accordance

with §§ 1122 and 1123(a)(1).80 The claims and interests placed in each class are substantially

similar to other claims and interests in each such class. Valid business, factual, and legal reasons

exist for separately classifying the various classes of claims and interests created under the Plan,

and such classes, and the Plan’s treatment thereof, do not unfairly discriminate between holders of

claims or interests in each class. The Plan also provides for the same treatment by Debtors of each

claim or interest in each respective class, thereby satisfying § 1123(a)(4).81 Thus, the Plan satisfies

§§ 1122 and 1123(a). Accordingly, Debtors’ Plan satisfies § 1129(a)(1).

               ii.    Section 1129(a)(2)

        Section 1129(a)(2) requires that “[t]he proponent of the plan comply with the applicable

provisions of this title.”82 Among those provisions are the compliance with the disclosure and

solicitation requirements, which is the paradigmatic example of what Congress had in mind when

it enacted § 1129(a)(2).83 Nevertheless, in a subchapter V case, a separate disclosure and

solicitation of votes is not required, nor did this Court order that Debtors file a separate disclosure

statement.84 All that is required in a subchapter V plan is that the debtor include a brief history of

its business operations, a liquidation analysis, and projections with respect to the ability of the


80
   11 U.S.C. §§ 1122 and 1123(a)(1).
81
   See, e.g., In re U.S. Brass Corp., 169 F.3d 957, 958 (5th Cir.1999) (“11 U.S.C. § 1123(a)(4) ... requires all
creditors within a class be treated the same, unless the creditor who is being treated less favorably agrees to less
favorable treatment.”).
82
   11 U.S.C. § 1129(a)(2).
83
    See In re Trans World Airlines, Inc., 185 B.R. 302, 313 (Bankr. E.D .Mo. 1995) (“The principal purpose
of section 1129(a)(2) of the Bankruptcy Code is to assure that the plan proponents have complied with the disclosure
requirements of section 1125 of the Bankruptcy Code in connection with the solicitation of acceptances of the
plan.”); In re Texaco Inc., 84 B.R. 893, 906–07 (Bankr. S.D. N.Y. 1988) (same).
84
   11 U.S.C. § 1187(c).
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debtor to make payments under the proposed plan of reorganization.85 As discussed more fully

supra, this Court accordingly concludes that Debtors established by a preponderance of the

evidence that they have complied with the applicable provisions of the Bankruptcy Code, including

the provisions regarding the contents of a subchapter V plan of reorganization, thereby satisfying §

1129(a)(2).

               iii.    Section 1129(a)(3)

         Under § 1129(a)(3), a plan must have “been proposed in good faith and not by any means

forbidden by law.”86 As an initial matter, the Court concludes that the Plan has not been proposed

by any means forbidden by law.87 No party-in-interest has suggested otherwise, and leaving that

aspect of § 1129(a)(3) aside, the Court focuses on the requirement of good faith. The Bankruptcy

Code does not define the term “good faith,” but the Fifth Circuit has stated that the requirement of

good faith must be viewed in light of the totality of the circumstances surrounding establishment of

a Chapter 11 plan, keeping in mind that the purpose of the Bankruptcy Code is to give debtors a

reasonable opportunity to make a fresh start.88 “Where the plan is proposed with the legitimate and

honest purpose to reorganize and has a reasonable hope of success, the good faith requirement

of § 1129(a)(3) is satisfied.”89 A debtor’s plan may satisfy the good faith requirement even though

the plan may not be one which the creditors would themselves design and indeed may not be

confirmable.90 The standard of proof required by the debtor to prove that a Chapter 11 plan was

proposed in good faith is by a preponderance of the evidence.91



85
   11 U.S.C. § 1190(1).
86
   11 U.S.C. § 1129(a)(3).
87
   ECF No. 226.
88
   In re Sun Country Dev., Inc., 764 F.2d 406, 408 (5th Cir.1985).
89
   Id.
90
   In re Briscoe Enter., Ltd., II, 994 F.2d 1160, 1167 (5th Cir.1993).
91
   Id. at 1165.
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           Debtors have explained their reasons for filing the Plan as follows: “The Debtors operate in

a highly competitive business, with competitors who have significantly stronger financial

wherewithal. Adjacent operator, Parsley, recently acquired Jagged Peak’s adjacent 78,000-acre

position for $2.3 billion. Over the past 5 years, Parsley and Jagged Peak have drilled over 40

nearby horizontal wells. These wells have established the existence of high-quality oil assets first

identified by Debtors in the area through Dr. Dria’s efforts. Given the amount of production from

each well, the price of the commodities and the extant litigation involving subcontractors and

continual interference by Parsley and/or its agents, the Debtors have been losing money for some

period of time. In addition to her initial equity investment of more than $8,000,000 into the

Debtors, Dr. Dria has loaned the Debtors over the last 10 years over $19,000,000 to develop

production infrastructure to support drilling and completion operations, oil and gas gathering and

processing facilities and to drill on the Debtors’ oil and gas properties. The Debtors’ business has

encountered numerous challenges in the last two years: low commodity prices and high service

prices continued over an extended period.”92

           In light of Debtors’ explanation set forth above and the supporting evidence, and

considering the provisions of the Plan, the Court concludes that Debtors established by a

preponderance of the evidence that they filed the Plan as part of efforts to reorganize and to

preserve Debtors’ businesses as going concerns, and thus have proposed the Plan in good faith.

Accordingly, the Court finds that § 1129(a)(3) is satisfied.

                iv.      Section 1129(a)(4)

           Section 1129(a)(4) provides that “any payment” made or to be made by the plan proponent or

the debtor for services “in or in connection with” the plan or the case must be approved by or


92
     ECF No. 226 at 7.
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“subject to the approval of” the bankruptcy court as “reasonable.”93 Pre-confirmation payments for

fees and expenses incurred in a bankruptcy case have been held to be within the scope

of § 1129(a)(4).94 The requirements under § 1129(a)(4) are two-fold. First, there must be disclosure.

Second, the court must approve the reasonableness of payments.95 Section 1129(a)(4) is designed to

ensure compliance with the Code policy that the bankruptcy court police the awarding of fees in title

11 cases, so that holders of claims and interests derive the benefit of such information as it might

affect their decision to accept or reject the plan. Here, no party-in-interest has filed an objection to

the Plan regarding this provision. Additionally, the Court has reviewed the Plan and finds that it

complies with the requirements of § 1129(a)(4).96 Accordingly the Plan satisfies § 1129(a)(4).

                v.    Section 1129(a)(5)

         Section 1129(a)(5) imposes as a requirement for confirmation that the plan proponent

disclose any individual proposed to serve, after confirmation, “as a director, officer, or voting

trustee of the debtor,” and that the holding of such office by each individual “is consistent with the

interests of creditors and equity security holders and with public policy.”97 Here, the Court notes

that no party-in-interest has filed an objection to the Plan regarding this provision. Nevertheless, §

1129(a) obligates this Court to make a finding under § 1129(a)(5), whether or not any party has

objected to the plan on § 1129(a)(5) grounds.98 In this case, Debtors’ Plan proposes to reinstate the

pre-petition management structure of Debtors.99 Thus, if Debtors’ Plan is confirmed, Dr. Dria once

again will be in full control of Debtors, due to her current ownership and control of Debtors.



93
   11 U.S.C. § 1129(a)(4).
94
    In re Cajun Elec. Power Co., 150 F.3d 503, 513–14 (5th Cir.1998).
95
   7 Collier on Bankruptcy ¶ 1129.03[4] (16th ed. 2015).
96
   ECF No. 226.
97
   11 U.S.C. § 1129(a)(5)(A).
98
   See 11 U.S.C. § 1129(a) (court “shall confirm a plan only if all of the following requirements are met”).
99
   ECF No. 226.
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Considering Dr. Dria’s expertise in managing Debtors, this Court views that result as acceptable

and in compliance with § 1129(a)(5). Accordingly, Debtors’ Plan satisfies § 1129(a)(5).

              vi.     Section 1129(a)(6)

        Section 1129(a)(6) requires that “any governmental regulatory commission with jurisdiction,

after confirmation of the plan, over the rates of the debtor has approved any rate change provided for

in the plan, or such rate change is expressly conditioned on such approval.”100 Such provision is not

applicable to Debtors.101 Accordingly, Debtors’ Plan satisfies § 1129(a)(6).

             vii.     Section 1129(a)(7)

        Section 1129(a)(7) provides:
               (a) The court shall confirm a plan only if all of the following requirements are
                   met:
                      ...
                      (7) With respect to each impaired class of claims or interests—
                              (A) each holder of a claim or interest of such class—
                                     (i) has accepted the plan; or
                                     (ii) will receive or retain under the plan on account of such
                                     claim or interest property of a value, as of the effective date
                                     of the plan, that is not less than the amount that such holder
                                     would so receive or retain if the debtor were liquidated
                                     under Chapter 7 of this title on such date . . . .

        Section 1129(a)(7) requires a plan of reorganization meet the “best interests” test, which

requires that each dissenting creditor receive at least as much as they would in a hypothetical

Chapter 7 liquidation of the debtor.102 Here, no party-in-interest objected to Plan confirmation

on this ground. Nevertheless, the Court finds that under a hypothetical Chapter 7 liquidation of

Debtors, all creditors would be paid in full, with interest, which is clearly more than they would

receive in a hypothetical liquidation. Debtors also provided a hypothetical liquidation analysis,




100
    11 U.S.C. § 1129(a)(6)
101
    ECF No. 226 at 18
102
    11 U.S.C. § 1129(a)(7)(A).
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which the Court finds credible.103 The Court concludes that the requirement of § 1129(a)(7) of

the Bankruptcy Code has been satisfied with respect to Debtors’ Plan.

             viii.    Section 1129(a)(8)

         Section 1129(a)(8) provides that “[w]ith respect to each class of claims or interests (A) such

class has accepted the plan; or (B) such class is not impaired under the plan.”104

Section 1129(a)(8) is satisfied only if each class under a proposed plan has either accepted the plan or

is not impaired under the plan. Debtors’ Plan does not satisfy § 1129(a)(8) as there are eight

impaired classes and of the eight impaired classes, only five have accepted the Plan.105 However, as

set forth above, § 1129(a)(8) is one of three subsections of § 1129(a) that does not have to be satisfied

for a subchapter V plan to be confirmed.106 A plan that does not satisfy § 1129(a)(8) nonetheless can

be confirmed if the plan satisfies the cram down requirements contained in § 1191(b).

         Section 1191(b) permits a plan proponent to “cramdown” a plan over a dissenting class if

the plan does not “discriminate unfairly” and provides “fair and equitable” treatment to the

dissenting classes that are impaired under the plan. Before a plan proponent may cramdown a

plan, it must establish that all of the other requirements of § 1129(a) are met. Accordingly, the

Court will address the remaining requirements of § 1129(a) before discussing the cramdown

requirements of § 1191(b).

               ix.    Section 1129(a)(9)

         As discussed supra, classification of claims is covered in § 1122, which provides that “a

plan may place a claim or an interest in a particular class only if such claim or interest is




103
    See ECF No. 226-2.
104
    11 U.S.C. § 1129(a)(8).
105
    ECF No. 210.
106
    11 U.S.C. § 1191(b).
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substantially similar to the other claims or interests in such class.”107 A debtor possesses

considerable, but not complete, discretion to classify claims and interests in its Chapter 11 plan of

reorganization. While considerable, that discretion is tempered at least with respect to unsecured

priority tax claims. Section 1123(a)(1) provides that a plan shall “designate, subject to section

1122 of this title, classes of claims, other than claims of a kind specified in section 507(a)(2),

507(a)(3), or 507(a)(8) of this title, and classes of interests.”108 Here, no objection to Plan

confirmation on this ground was asserted by any party-in-interest. Additionally, there are no

unsecured priority tax claims.109 The Court therefore concludes that Debtors have demonstrated by

a preponderance of the evidence that the Plan complies with § 1129(a)(9).

               x.     Section 1129(a)(10)

        Under § 1129(a)(10), “[i]f a class of claims is impaired under the plan,” then it must be the

case that “at least one class of claims that is impaired under the plan has accepted the plan,

determined without including any acceptance of the plan by any insider.”110 As one court stated,

“[s]ection 1129(a)(10) operates as a statutory gatekeeper barring access to cramdown where there

is absent even one impaired class accepting the plan. Cramdown is a powerful remedy available to

plan proponents under which dissenting classes are compelled to rely on difficult judicial

valuations, judgments, and determinations.             The policy underlying Section 1129(a)(10) is that

before embarking upon the tortuous path of cramdown and compelling the target of cramdown to

shoulder the risks of error necessarily associated with a forced confirmation, there must be some

other properly classified group that is also hurt and nonetheless favors the plan.”111

        As outlined above, § 1129(a)(10) does not have to be satisfied for a subchapter V plan to be

107
    11 U.S.C. § 1122(a).
108
    11 U.S.C. § 1123(a)(1).
109
    See ECF No. 226.
110
    11 U.S.C. § 1129(a)(10).
111
    In re One Times Square Assocs. Ltd. P’ship, 165 B.R. 773 (S.D.N.Y.).
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confirmed.112 Nonetheless, in this case, Class 6 – Maverick, Class 8 – Charger, and Class 9 – Von

Directional, are all non-insider, impaired classes, that voted in favor of Debtors’ Plan.113

Accordingly, the Court finds that Debtors’ Plan meets the requirement of § 1129(a)(10).

              xi.     Section 1129(a)(11)

        Section 1129(a)(11) is commonly referred to as the “feasibility” requirement of

confirmation. A debtor’s plan is feasible if “[c]onfirmation of the plan is not likely to be

followed by the liquidation, or the need for further financial reorganization, of the debtor . . .

unless such liquidation or reorganization is proposed in the plan.”114 Under the feasibility

standard, a debtor must demonstrate that its plan offers a reasonable possibility of success by a

preponderance of the evidence.115 The court need not require a guarantee of success.116

Essentially, a debtor must be able to show that it can accomplish what it proposes to do, in the

time period allowed, and on the terms set forth in the plan. The bankruptcy court must make a

specific finding as to feasibility after engaging in a peculiarly fact intensive inquiry that involves

a case-by-case analysis, using as a backdrop the relatively low parameters articulated in the

statute.117 To confirm a plan, the bankruptcy court must make a specific finding that the plan as

proposed is feasible.118

        Here, this Court specifically finds that the Plan is feasible and has a reasonable assurance of

commercial viability based on the following: (1) that Debtors will be able to service the debt

through operations and with an infusion of capital by the principal as stated in the Plan; (2) the

earning power of Debtors after the reorganization; (3) the past performance of Debtors’ business

112
    11 U.S.C. § 1191(b).
113
    ECF No. 210.
114
    11 U.S.C. § 1129(a)(11).
115
    See Matter of T-H New Orleans Ltd. P'ship, 116l F.3d 790, 801 (5th Cir. 1997).
116
    In re Lakeside Glob. II, Ltd., 116 B.R. 499, 507 (Bankr. S.D. Tex. 1989).
117
    Id.; In re Star Ambulance Serv., LLC, 540 B.R. 251, 266 (Bankr. S.D. Tex. 2015).
118
    In re M & S Assoc., Ltd., 138 B.R. 845, 848 (Bankr. W.D. Tex. 1992).
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operations; (4) the ability of Debtors’ management; and (5) the economic outlook for the oil

industry in general.119 Accordingly, Debtors’ Plan satisfies § 1129(a)(11).

              xii.    Section 1129(a)(12)

        Section 1129(a)(12) requires the payment of “[a]ll fees payable under section 1930 of title

28, as determined by the court at the hearing on confirmation of the plan[.]”120 Under § 507, such

fees are afforded priority as administrative expenses.121 The Plan provides for the payment of such

fees on the effective date and thereafter, as may be required.122 Accordingly, the Court finds that

Debtors’ Plan complies with § 1129(a)(12).

             xiii.    Section 1129(a)(13)

        Section 1129(a)(13) requires that a plan provide for “the continuation of payment of all

retiree benefits, at the level established pursuant to § 1114 of the Bankruptcy Code at any time

prior to confirmation of the plan, for the duration of the period the debtor has obligated itself to

provide such benefits.” Pursuant to the Plan, this section is inapplicable to the instant Debtors.123

Accordingly, the Plan satisfies the requirements of § 1129(a)(13).

             xiv.     Section 1129(a)(14)

         Section 1129(a)(14) of the Bankruptcy Code requires that if the debtor is mandated by a

judicial or administrative order, or by statute, to pay a domestic support obligation, the debtor must

have paid all amounts payable under such order or such statute for such obligation that first become

payable after the date of the filing of the petition.124 Here, Debtors are not required by a judicial or




119
    ECF No. 226.
120
    11 U.S.C. § 1129(a)(12).
121
    See 11 U.S.C. § 507(a)(2).
122
    ECF No. 226.
123
    Id.
124
    See 11 U.S.C. § 1129(a)(14).
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administrative order, or by statute, to pay any domestic support obligation; accordingly, the Plan

satisfies the requirements of § 1129(a)(14).

              xv.     Section 1129(a)(15)

         Section 1129(a)(15) requires that if the debtor is an individual, and the holder of an allowed

unsecured claim has objected to confirmation of the plan, the property to be distributed to the holder

must be not less than the value required by § 1129(a)(15).125 Here, § 1129(a)(15) does not apply

because Debtors are not individuals; accordingly, the Plan satisfies the requirements of § 1129(a)(15).

             xvi.     Section 1129(a)(16)

         Section 1129(a)(16) requires that all transfers of property under the plan shall be made in

accordance with any applicable provisions of non-bankruptcy law that govern the transfer of

property by a corporation or trust that is not a moneyed, business, or commercial corporation of

trust.126 Here, upon review, all transfers of property under the Plan will be made in accordance

with any applicable provisions of non-bankruptcy law that govern the transfer of property by a

corporation or trust that is not a moneyed, business, or commercial corporation of trust;

accordingly, the Plan satisfies the requirements with § 1129(a)(16).127

        Now that the Court has determined that Debtors’ Plan meets the applicable requirements

under § 1129(a), other than § 1129(a)(8), the Court will turn its attention to confirmation of

Debtors’ Plan pursuant to § 1191(b).

             b. Confirmation Pursuant to § 1191(b) and “Cramdown”

        For a subchapter V plan, § 1191(b) states the rules for confirmation of a non-consensual or

“cramdown” plan and replaces the cramdown requirements of § 1129(b), which do not apply in a


125
    See 11 U.S.C. § 1129(a)(15).
126
    See 11 U.S.C. § 1129(a)(16).
127
    ECF No. 226.
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subchapter V case.128 As discussed at length herein, § 1191(b) permits confirmation even if the

requirements of paragraphs (8), (10), and (15) of § 1129(a) are not met.

         Under the cramdown rules in § 1191(b), if all other confirmation standards are met, the

court must confirm a plan on request of the debtor, if, with respect to each impaired class that has

not accepted it, the plan does not (1) discriminate unfairly and (2) is fair and equitable.129 These

two general standards are the same as the ones that govern in a cramdown under § 1129(b). While

subchapter V does not affect any change in the unfair discrimination requirement, § 1191(c) does

provision a new “rule of construction” in subchapter V cases for the condition that a plan be “fair

and equitable,” replacing the detailed definition of that term contained in § 1129(b). Subchapter V

does not change existing law about permissible cramdown treatment of secured claims because

with regard to a class of secured claims, a subchapter V plan is “fair and equitable” if it meets the

existing rules for secured claims stated in § 1129(b)(2)(A). 130 Section 1129(b)(2)(A) states:

         (2) For the purpose of this subsection, the condition that a plan be fair and equitable with
         respect to a class includes the following requirements:

                  (A) With respect to a class of secured claims, the plan provides—

                      (i)     (I) that the holders of such claims retain the liens securing such claims,
                              whether the property subject to such liens is retained by the debtor or
                              transferred to another entity, to the extent of the allowed amount of
                              such claims; and

                              (II) that each holder of a claim of such class receive on account of such
                              claim deferred cash payments totaling at least the allowed amount of
                              such claim, of a value, as of the effective date of the plan, of at least
                              the value of such holder’s interest in the estate’s interest in such
                              property;

                      (ii)    for the sale, subject to section 363(k) of this title, of any property that
                              is subject to the liens securing such claims, free and clear of such liens,
                              with such liens to attach to the proceeds of such sale, and the treatment
128
    11 U.S.C. § 1181(a).
129
    11 U.S.C. § 1191(b).
130
    11 U.S.C. § 1191(c)(1).
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                            of such liens on proceeds under clause (i) or (iii) of this subparagraph;
                            or

                    (iii)   for the realization by such holders of the indubitable equivalent of
                            such claims.

        Nevertheless, § 1191(c) does not state a “fair and equitable” rule specifically for

unsecured claims. Instead, it imposes a projected disposable income requirement (“best efforts”

test), which requires a feasibility finding, and requires that the plan provide appropriate remedies

if payments are not made.131 Notably, in a subchapter V case, the absolute priority rule under

§ 1129(b)(2)(B) is eliminated for cramdown, which will allow existing owners to retain their full

ownership without giving any new value, but only if the plan provides for the debtor to distribute

all of its projected disposable income over at least three years from the date the first payment is

due under the plan (or property having a value of at least that amount).132 The absolute priority

rule has been replaced with the “fair and equitable” requirement to protect dissenting unsecured

classes similar to those requirements found in applicable Chapters 12 and 13 cases and individual

Chapter 11 cases. The general standards for confirmation (i.e. that the subchapter V plan does

not discriminate unfairly against any impaired, non-consenting class and is fair and equitable)

shall be evaluated in light of creditors’ objections.

               i. Objections to Confirmation

        The Objecting Creditors each filed separate objections to confirmation; however,

substantively each objection raises similar arguments.133

        First, Objecting Creditors assert that the Plan fails to meet the requirements for a

cramdown plan under § 1129(b)(2)(A), made applicable here under § 1191(c)(1), because the

Plan as proposed is not fair and equitable as to each creditor’s claim because it does not provide
131
    11 U.S.C. § 1191(c).
132
    11 U.S.C. § 1181(a).
133
    See ECF Nos. 205–209.
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for the Objecting Creditors to either retain their existing, pre-petition liens, or the indubitable

equivalent of their respective claims.134 Each Objecting Creditor holds a statutory lien claim

against Debtors’ assets in Pecos County, Texas, and the Plan proposes to release each of the

Objecting Creditors’ pre-petition statutory lien and provide a smaller replacement lien on only a

portion of Debtors’ assets in Pecos County.135 The “replacement lien,” argues each Objecting

Creditor, is not adequately defined in the proposed Plan as it does not state what kind of lien each

Objecting Creditor would be granted nor to what property the lien would attach, which fails to

meet the cramdown requirements of § 1129(b)(2)(A).136

         Second, Objecting Creditors assert that “the Plan provides absolutely no specifics on the

anticipated amount of Disposable Income, the dates when Disposable Income will be available,

or even how Debtors will calculate or report Disposable Income.”137 Specifically, both Pilot

Thomas and TransCon assert that (i) Debtors have admitted both in the Plan and at the prior

hearing that there may not be any Disposable Income and that the Plan does not rely upon

Disposable Income, (ii) the “financial projections” in the Plan are speculative, subject to market

conditions and fluctuations, and entirely dependent on major upfront capital financing that is

non-existent, (iii) Debtors’ monthly operating reports indicate no income during the course of

their Chapter 11 cases and potentially no currently operating assets, (iv) Disposable Income

inexplicably excludes “monies received by the Debtors from any recovery or settlement under

the Debtors’ insurance policies issued by Travelers,” and (v) Debtors indicated no plan of

development under the proposed plan or under oath.138 Additionally, Nabors argues that the Plan

is overly speculative and is not feasible because “the Plan states that it will pay Nabors from

134
    Id.
135
    See ECF No. 226.
136
    ECF Nos. 120, 205 at 2, and 208 at 1.
137
    ECF Nos. 229 at 8–9, and 231 at 8–9.
138
    Id.
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Disposable Income from future development for which the Debtors have not provided

evidence.”139        Since all three creditors’ objections are substantively similar, the Court will

consider them simultaneously.

         Here, § 1129(a)(10) was met, although not required to be under § 1191(b), § 1129(a)(15)

is not applicable to this case as it only applies to individuals, and this Court has already found

that § 1129(a)(8) has not been met. Accordingly, in order to be confirmed, the Court will need

to determine whether Debtors’ jointly administered non-consensual subchapter V Plan meets the

requirements of § 1191(b).

          As stated supra, § 1191(c) states a new “rule of construction” for the requirement that a

plan be “fair and equitable.”140 The plan is fair and equitable if (i) it proposes to commit all of the

debtor’s disposable income for the entire term of the plan to making plan payments (or the

equivalent thereof); (ii) the debtor is able to make the payments under the plan or there is a

reasonable likelihood that the debtor will be able to make the payments; and (iii) the plan provides

appropriate remedies, which could include the liquidation of nonexempt assets, to protect creditors

if the payments are not made.141 Thus, it allows a debtor’s equity holders to retain their equity or

individual debtors to retain their assets, even if unsecured creditors are not paid in full.142 The

Court will take each one in turn.

               ii.     The Plan Satisfies the Disposable Income (or “Best Efforts”) Test

         Cramdown confirmation under the fair and equitable standard first imposes a modified

projected disposable income rule, expanded to include all debtors, not just individuals.143 The plan

must provide that all of the projected disposable income of the debtor received in the three-year

139
    ECF No. 230 at 9.
140
    11 U.S.C. § 1191(c).
141
    11 U.S.C. § 1191(c)(2) and (3).
142
    11 U.S.C. § 1191(c).
143
    Id.
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period after the first payment under the plan is due, or in such longer period not to exceed five

years as the court may fix, will be applied to make payments under the plan.144 Alternatively, the

plan may provide that the value of property to be distributed under the plan within the three-year or

longer period, as fixed by the court, is not less than the projected disposable income of the

debtor.145 The Bankruptcy Code does not define “projected disposable income,” but it defines

“disposable income” in Chapters 12146 and 13.147 In Chapter 11 cases, § 1129(a)(15) incorporates

the Chapter 13 definition.148 Section 1191(d) defines disposable income as “income that is received

by the debtor and that is not reasonably necessary to be expended for” these specified purposes:

                      i. the maintenance or support of the debtor or a dependent of the debtor;149
                         or

                      ii. a domestic support obligation that first becomes payable after the date of
                          the filing of the petition;150 or

                     iii. payment of expenditures necessary for the continuation, preservation, or
                          operation of the business of the debtor.151

        The definition of disposable income in § 1191(d) is substantially the same as the definition of

disposable income in § 1225(b)(2). It is also substantially the same definition as in § 1325(b)(2),

except that § 1325(b)(2) permits a deduction for charitable contributions. The Chapter 11 provision

incorporates the Chapter 13 definition.152 Unlike Chapter 13, however, § 1191(d) does not

incorporate the means test in the calculation of disposable income. The test for determining what

144
    11 U.S.C. § 1191(c)(2)(A) (The projected disposable income test in Chapter 11 and 12 cases likewise requires the
use of projected disposable income to make payments under the plan. §§ 1129(a)(15), 1225(b)(1). This was the rule
for Chapter 13 cases until the enactment of Bankruptcy Abuse Prevention and Consumer Protection Act (BAPCPA)
of 2005. BAPCPA in 2005, which amended 1325(b)(1) to require the use of projected disposable income to make
payments to unsecured creditors.).
145
    Id.
146
    11 U.S.C. § 1225(b)(2).
147
    11 U.S.C. § 1325(b)(2).
148
    11 U.S.C. § 1129(a)(15).
149
    11 U.S.C. § 1191(d)(1)(A).
150
    11 U.S.C. § 1191(d)(1)(B).
151
    11 U.S.C. § 1191(d)(2).
152
    11 U.S.C. § 1129(a)(15).
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maintenance and support expenditures are “reasonably necessary to be expended” for “maintenance

or support” in § 1191(d)(1) in subchapter V cases is the same as it is in Chapter 12 and below-

median Chapter 13 cases, and as it was in Chapter 13 cases prior to the introduction of the means

test standards in BAPCPA.153 Additionally, for subchapter V cases, § 1191(c)(2) provides for a

commitment period of three years or such longer time, not to exceed five years, that the court

fixes.154 The five-year maximum commitment period in a subchapter V case is the same as the

longest minimum commitment period under the Chapter 11 and above-median Chapter 13 tests.155

Section 1191(c)(2), however, contains no standards for fixing the commitment period.                         The

involvement of the Court in choosing the commitment period is unique to subchapter V cases.

        Here, the Court finds persuasive Dr. Dria’s testimony supporting the proposition that the

development of the West Acreage will generate income included to determine Disposable

Income distributed under the Plan, which will inure for the benefit of the Objecting Creditors.156

Additionally, the Plan provides for the distribution of Debtors’ Disposable Income to holders of

Allowed Claims, including the Objecting Creditors, if and when an Objecting Creditor is

determined to hold an Allowed Claim.157                Until the Objecting Creditors’ claims are fully

adjudicated, their pro-rata share of Disposable Income (calculated based on the amount of each

respective proof of claim) will be set aside in a claim reserve account held by the SBRA Trustee,




153
    See 11 U.S.C. § 1191(d)(1).
154
    11 U.S.C. § 1191(c)(2).
155
    The maximum commitment period in a Chapter 12 case is five years. § 1225(b)(1)(B). Chapter 13 sets specific
commitment periods of three years for below-median debtors, § 1325(b)(4)(A), and five years for above-median
debtors, § 1325(b)(4)(B). The commitment period in a Chapter 11 case is the longer of five years or the period for
which the plan provides for payments. § 1129(a)(15).
156
    ECF No. 226.
157
    Id.
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as previously directed by this Court.158 Moreover, the SBRA Trustee will act as the disbursing

agent and monitor Debtors’ compliance with the requirements of the Plan.159

         The Plan provides for the Objecting Creditors to be paid in the relatively short time

period of two (2) years, with interest, if their claims are allowed.160 If an Allowed Claim is not

paid in two years from Disposable Income, then Debtors have the affirmative obligation to sell

assets sufficient to pay Allowed Claims in full.161 If Allowed Claims are not paid on or before

the 34th month after the Effective Date of the Plan, then the holder of any unpaid Allowed Claim

secured by the Retained Lien will also be provided a lien in whatever interest Debtors then have

in the West Acreage (“Springing Lien”).162 If Allowed Claims are not paid on or before the

third-year anniversary of the Effective Date of the Plan, the holders of unpaid Allowed Claims

may foreclose on the Garnet State Lease Collateral covered by the Retained Lien as well as the

property covered by the Springing Lien.163 Finally, Debtors will continue to have full recourse

and all of their assets will be available to satisfy unpaid Allowed Claims.164 Accordingly, the

Court finds that Debtors’ Plan satisfies the disposable income test under § 1191(c)(2)(A).

               iii.    The Plan is Feasible and Provides Remedies for Default

         Section 1191(c)(3) adds two additional factors to the “fair and equitable” analysis. First,

§ 1191(c)(3)(A) requires that the debtor be able to make all payments under the plan, 165 or that

there is a reasonable likelihood that the debtor will be able to make all payments under the

plan.166 The new requirement fortifies the more relaxed feasibility test that § 1129(a)(11)

158
    Id.
159
    Id.
160
    Id.
161
    Id.
162
    Id.
163
    Id.
164
    Id.
165
    11 U.S.C. § 1191(c)(3)(A)(i).
166
    11 U.S.C. § 1191(c)(3)(A)(ii).
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contains. Section 1129(a)(11) requires only that confirmation is not likely to be followed by

liquidation or the need for further reorganization unless the plan proposes it.167               Second,

§ 1191(c)(3)(B) requires that the plan provide appropriate remedies to protect the holders of

claims or interests if the debtor does not make the required plan payments.168 The feasibility

requirement for confirmation requires a showing that the debtor can realistically carry out its

plan.169 Though a guarantee of success is not required, the bankruptcy court should be satisfied

that the reorganized debtor can stand on its own two feet.170

         Here, the Court gives great weight to Dr. Dria’s uncontroverted testimony and finds that

there is a reasonable likelihood that Debtors will successfully develop the West Acreage and

generate sufficient revenue so that their Disposable Income will be sufficient to pay Allowed

Claims within two years.171 The value of the Garnet State Lease Collateral covered by the

Retained Lien (approximately $7.4 million) is significantly greater than the absolute highest

amount that the Allowed Claims could total in the aggregate (approximately $1.2 million), so that

if the Allowed Claims are not paid in full through the distribution of Disposable Income within two

years, it is likely that Debtors will be in a position to generate sufficient funds from the sale of their

assets to pay the Allowed Claims in full prior to the time the Springing Lien is triggered.172

         Moreover, Dr. Dria testified, and the Plan provides, that Debtors will sell property to

satisfy Allowed Claims if they are not otherwise paid from Disposable Income by the end of the

second-year anniversary of the Effective Date of the Plan.173 Dr. Dria also testified, without

objection, as to the value of Debtors’ assets and her opinion that Debtors will have no difficulty

167
    11 U.S.C. § 1129(a)(11).
168
    11 U.S.C. § 1191(c)(3)(B).
169
    In re Lakeside Global, II, Ltd., 116 B.R. at 506.
170
    Id.
171
    Id.
172
    ECF No. 226.
173
    Id.
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in selling sufficient assets to pay unpaid Allowed Claims, if such becomes necessary.174 The

Court finds that in light of the evidence, Debtors will be able to realistically carry out their Plan.

Accordingly, Debtors’ Plan meets the requirements of § 1191(c)(3).

               iv.   The Plan Meets the Requirements of § 1129(b)(2)(A)

        Lastly, under the fair and equitable standard in a subchapter V case, the requirements in

§ 1129(b)(2)(A) for cramdown confirmation regarding a class of secured claims remain

applicable.175 As an initial matter, each of the Objecting Creditors hold claims that have not yet

been allowed, as they are subject to pending adversary complaints contesting the validity of their

claims.176 Currently, however, the Objecting Creditors are secured by mineral interests in Debtors’

property.177 There is no dissenting unsecured class of creditors. A full discussion regarding the

fair and equitable requirement for a dissenting unsecured class of creditors therefore is reserved for

another day.

        Section 1129(b)(2)(A)(iii) provides that the condition for a plan to be fair and equitable

with respect to a class of secured claims may be satisfied if it provides “for the realization by such

holders of the indubitable equivalent of such claims.”178 First, the indubitable equivalent is tied to

a “claim,” not the property securing the claim. This is an important distinction because the

Objecting Creditors vehemently argue that Debtors cannot modify their lien rights in any fashion

and still satisfy the indubitable equivalent standard.179       The Objecting Creditors focus their

attention on the pre-petition collateral, as opposed to their claims.




174
    Min. Entry (08/13/2020).
175
    11 U.S.C. § 1191 (c)(1).
176
    See ECF Nos. 81, 105, 132.
177
    Min. Entry (08/13/2020).
178
    11 U.S.C. § 1129.
179
    See ECF Nos. 229–231.
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         In considering whether the Plan provides for the realization of the indubitable equivalent of

the claims, it is important to keep in mind that the aggregate amount of remaining disputed claims

that have asserted liens against Debtors’ assets are approximately $1.2 million. Thus, if all of the

disputed claims are adjudicated 100 percent in favor of the Objecting Creditors, the total amount of

allowed secured claims will be approximately $1.2 million. Assuming this worst-case scenario for

Debtors becomes a reality, the value of Debtors’ property subject to the disputed pre-petition liens

is valued at approximately $35 million, meaning there would be a 29 to 1 value-to-debt equity

cushion. The Objecting Creditors argue that this cushion must be maintained for Debtors to satisfy

the indubitable equivalent standard. The Court finds this argument without merit as the Plan

satisfies the indubitable equivalent standard found under § 1129(b)(2)(A)(iii).

         The Fifth Circuit has expressly recognized that one accepted method of providing

indubitable equivalence is the exchange of collateral.180 Whether the indubitable equivalent

offered is equivalent is a matter left to the discretion of the bankruptcy court in its careful

reliance upon sufficient facts.181 Courts should not accept offers of indubitable equivalence

lightly and should insist on a high degree of certainty. 182 Moreover, indubitable equivalence is a

flexible standard.183 The indubitable equivalent standard requires a showing that the objecting

secured creditor will receive the payments to which it is entitled, and that the changes forced

upon the objecting creditor are completely compensatory, meaning that the objecting creditor is

fully compensated for the rights it is giving up.184 For example, the Fifth Circuit has stated that

180
    In re Sun Country Dev., Inc., 764 F.2d at 408.
181
    Id.; In re Walat Farms, Inc., 70 B.R. 330, 336 (Bankr. E.D. Mich. 1987) (“a bankruptcy court is permitted,
indeed required, to make these determinations on a case by case basis and to order confirmation of a plan which
indubitably protects and pays the claim of an objecting creditor”).
182
    In re Swiftco, Inc., 1988 WL 143714 (Bankr. S.D. Tex. Oct. 5, 1988).
183
    In re Philadelphia Newspapers, LLC, 418 B.R. 548, 568, (E.D. Pa. 2009).
184
    In re Inv. Co. of The Sw., Inc., 341 B.R. 298 (B.A.P. 10th Cir. 2006) (“Substitute collateral with a value projected
to be equal to, or even more than, original collateral securing creditor’s claim is not “completely compensatory,” and
does not provide secured creditor with “indubitable equivalent” of its secured claim, if new collateral is so much
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the “[a]bandonment of the collateral to the class would satisfy indubitable equivalent, as would a

replacement lien on similar collateral.”185

         In Investment Company of The Southwest, the court recognized that a debtor may be

permitted to use some portion of the equity cushion in collateral to help implement a plan

without violating the indubitable equivalent standard, as long as the secured creditor remains

over-secured beyond a reasonable doubt and has sufficient protection. 186 Courts have approved

plans that did not pay a secured lienholder all of its collateral sale proceeds, as long as the court

is satisfied that there will always be more value in the remaining collateral than the lender’s lien
           187
amount.          Courts also have routinely held that a partial surrender of collateral to an over-

secured creditor provides such creditor with the indubitable equivalent of its claim.188 A sister

Court approved a plan over the objection of a secured creditor finding the debtor had provided

the indubitable equivalent because the secured creditor remained over-secured beyond a

reasonable doubt and had sufficient payment protection over the life of the plan.189 In essence, in

the bankruptcy context, the indubitable equivalent means that the treatment afforded the secured

creditor must be adequate to both compensate the secured creditor for the value of its secured

claim, and also insure the integrity of the creditor’s collateral position.190

         Here, the Objecting Creditors argue that the Plan does not insure the safety of the

principal (i.e., the amount of their Allowed Claims, if and when allowed) because under the Plan


riskier than original collateral that there is substantially greater likelihood that secured creditor will not ultimately be
paid.”).
185
    In re Pac. Lumber Co., 584 F.3d 229, 246 (5th Cir. 2009).
186
    In re Inv. Co. of The Southwest, Inc., 341 B.R. 298, 325 (B.A.P. 10th Cir. 2006).
187
    See In re Pine Mountain, Ltd., 80 B.R. 171 (B.A.P. 9th Cir. 1987) (“it was unlikely that creditor's claim would
ever become even partially unsecured, and plan provided secured creditor with variety of safeguards and fair interest
rates”); see also Affiliated Nat’l Bank-Englewood v. TMA Assocs., Ltd. (In re TMA Associates, Ltd.), 160 B.R. 172,
174 (D. Colo. 1993).
188
    In re May, 174 B.R. 832, 838–839 (Bankr. S.D. Ga. 1994).
189
    In re SCC Kyle Partners, Ltd., 2013 WL 2903453 (Bankr. W.D. Tex. June 14, 2013).
190
    4 Collier on Bankruptcy ¶ 506.03 (16th 2020).
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they no longer enjoy a 29 to 1 value-to-debt cushion.191 However, the Plan provides virtual

certainty that Allowed Claims will be paid in full.192 The overwhelming evidence demonstrates

that the property on which the Objecting Creditors retain a lien, (the Garnet State Lease

Collateral,) is valued at $7.4 million. That provides a 6 to 1 value-to-debt equity cushion.

Despite the fact that Objecting Creditors are adequately protected by an equity cushion in excess

of $6 million (i.e., $7.4 million v. $1.2 million), the Objecting Creditors nevertheless launch a

failed attempt at persuading this Court of two alternative arguments – first, that a Texas mineral

lien is sacrosanct and may not be modified in a plan under any circumstances, and second, that

lien-stripping may not be accomplished under any circumstances.193 Both of these arguments are

without merit.

        The Objecting Creditors argue that a Texas statutory mineral lien must be treated

differently than any other lien. The Objecting Creditors, however, offer no authority whatsoever to

support their assertion. Under § 1123(a)(5)(E), a plan may modify any lien.194 This includes even

an IRS lien for unpaid taxes.195 Just like IRS liens, or any other liens, statutory mineral liens may

be modified over objection under § 1123(a)(5)(E), as long as § 1129(b)(2)(A) is satisfied. Neither

the Bankruptcy Code nor case law provide statutory mineral liens extra protection. Recently, the

Fourth Circuit approved a “partial dirt for debt” plan treatment over the objection of the

secured creditor because the plan provided the secured creditor with the indubitable equivalent

of its claim.196 The secured claim was $14.6 million and the plan provided for the payment of

$1 million and property valued at $13.7 million in exchange for the release of the secured


191
    See ECF Nos. 205–209.
192
    ECF No. 226.
193
    Min. Entry (08/13/2020).
194
    11 U.S.C. § 1123.
195
    In re Johnson, 386 B.R. 171, 175–176 (Bankr. W.D. Pa. April 16, 2008).
196
    In re Bate Land & Timber, LLC, 877 F.3d 188 (4th Cir. 2017).
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creditor’s pre-petition collateral.197 The Fourth Circuit rejected any notion that a partial dirt

for debt plan is per se not confirmable.198 The key is whether the treatment in the plan

provides the objecting secured creditor the indubitable equivalent of its claim.

        In essence, the Objecting Creditors complain that all they are receiving under the Plan is a

Retained Lien in the Garnet State Lease Collateral and then are left to fend for themselves. This

contention misreads the Plan. This Court already found that the Garnet State Lease Collateral is

very valuable and Debtors do not plan to surrender it to the holders of Allowed Claims, even if all

of the disputed claims are allowed in full. Debtors’ plan is to redevelop the east 160 acres, but at

this time their resources are best utilized in developing the West Acreage. Dr. Dria testified as

such and further testified that the prospects of developing the West Acreage with liens in place are

not good and that the pre-petition liens of the Objecting Creditors would chill Debtors’ ability to

attract an investor to assist in the development of the West Acreage.199 But, with the West Acreage

unencumbered, Debtors will, in all reasonable certainty, be successful in developing such property.

The Objecting Creditors stand to benefit from the development, and they will retain their liens in

the Garnet State Lease Collateral should the development not go as planned. Moreover, the

Objecting Creditors will be provided the Springing Lien if their Allowed Claims are not paid on a

timely basis and Debtors will continue to remain fully liable on a recourse basis for the entire

unpaid amount of Allowed Claims.200

        Further, the cases relied on by the Objecting Creditors are inapposite because those cases

simply hold that the debtors did not satisfy the indubitable equivalent standard.201             In CRB


197
    Id.
198
    Id.
199
    Min. Entry (08/13/2020).
200
    ECF No. 226.
201
    See In re CRB Partners, LLC, 11-11915, 2013 WL 796566 (Bankr. W.D. Tex. March 4, 2013); see also In re
Swiftco, Inc., 1988 WL 143714; and Inv. Co. of The Southwest, 341 B.R. 298.
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Partners, the court recognized that a plan may be confirmed over a secured creditor’s objection

when the debtor proposes to surrender only a portion of the collateral as long as there is a sufficient

equity cushion in the property surrendered to protect the creditor and assure payment.202 The court

did not confirm the plan because it determined that the equity cushion for a claim of approximately

$1,340,000 was only $2.73.203 Here, the Plan does not propose to surrender the Garnet State Lease

Collateral to the Objecting Creditors. Unlike that case, Debtors’ Plan provisions for the Objecting

Creditors to retain a lien in such property and offer other protections to assure payment if their

claims are allowed, not the least of which is an equity cushion in excess of $6 million to cover

disputed claims with the aggregate face value of approximately $1.2 million.

        In    Swiftco, the court again recognized that under the Fifth Circuit holding in Sun

Country, a plan may be confirmed under the indubitable equivalent standard if there is no

reasonable doubt that the creditor will realize the full value of its allowed claim. 204 The court in

Swiftco determined that there was a reasonable doubt of payment because there was little to no

equity cushion and the payout was too long.205 The plan proposed in Swiftco was much different

than the instant Plan and the objecting creditor was a third-priority lien holder with little or no

equity cushion, being asked to wait six (6) years for full payment.206 Here, and under the instant

Plan, the Objecting Creditors have a first lien in the Garnet State Lease Collateral with a substantial

equity cushion. Moreover, the Objecting Creditors will be paid their pro rata share of Disposable

Income, and if they are not paid in full in two years, it is incumbent upon Debtors to sell property



202
    CRB Partners, 2013 WL 796566 at *5-6.
203
    Id.
204
    In re Swiftco, 1988 WL 143714 at *11-14.
205
    Id.
206
    Id. (The court stated that “the debtor has not shown that there is or will be a buyer who will probably buy the
property in the next few years at any price and especially not at $5,000,000. The debtor has failed to persuade the
court that any lender will refinance the existing indebtedness.”)
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of a sufficient value to pay the Objecting Creditors’ Allowed Claims in full. Additionally, the

West Acreage development will inure to the benefit of the Objecting Creditors.

           The common thread through all of the cases evaluating whether the objecting secured

creditor has been provided the indubitable equivalent of its claim is certainty of payment beyond

a reasonable doubt and adequate plan protections. When assessing these requirements, the Court

finds that the Plan more than satisfies the stringent indubitable equivalent standard. The Plan

provides 6 to 1 valueto-debt equity cushion. Debtors’ liability remains recourse and Debtors

commit to use their best efforts to develop the West Acreage, which will inure to the benefit of

the Objecting Creditors, as well as all creditors. Debtors remain responsible to sell sufficient

assets to pay Allowed Claims that are not paid within two years. And, if Debtors are unable to

perform, the Objecting Creditors have their Retained Lien (on property valued at $7.4 million),

as well as the Springing Lien. Dr. Dria’s valuation testimony supports Debtors’ contention that

the Retained Lien, along with the other protections in the Plan, provide the Objecting Creditors

with the indubitable equivalent of their claims, even when viewed through a stringent indubitable

equivalent standard. In light of the evidence and testimony discussed herein, the Court finds that

Debtors’ Plan satisfies § 1129(b)(2)(A).

           Accordingly, when all other confirmation standards are met, except those set out in

paragraphs (8), (10), and (15), the cramdown rules under § 1191(b) provide that the court shall

confirm a nonconsensual plan, on request of the debtor, if (with respect to each impaired class that

has not accepted it) the plan (1) does not discriminate unfairly and (2) is fair and equitable.

Therefore, for the reasons discussed herein, and pursuant to § 1191(b), Debtors’ Plan207 is confirmed.




207
      ECF No. 226.
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                              III.   CONCLUSION

       An Order consistent with this Memorandum Opinion will be entered on the docket

simultaneously herewith.


       SIGNED 09/30/2020.


                                          ___________________________________
                                                  Eduardo V. Rodriguez
                                               United States Bankruptcy Judge
